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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

                                   MDL No. 1:13-mc-02428-DPW

IN RE: FRESENIUS
GRANUFLO/NATURALYTE DIALYSATE
PRODUCTS LIABILITY LITIGATION,

This Document Relates to:

MSP RECOVERY CLAIMS, SERIES LLC,
a Delaware series limited liability company,
MSPA CLAIMS 1, LLC, a Florida limited
liability company, and SERIES PMPI, a
designated       series    of     MAO-MSO
RECOVERY II LLC, a Delaware series
limited liability company,

          Plaintiffs,

v.

FRESENIUS          MEDICAL            CARE
HOLDINGS, INC., d/b/a Fresenius Medical
Care North America, a New York for-profit
corporation, FRESENIUS USA, INC., a
Massachusetts     for-profit    corporation,
FRESENIUS USA MANUFACTURING,
INC., a Delaware for-profit corporation,
FRESENIUS USA MARKETING, INC., a
Delaware for-profit corporation and
FRESENIUS USA SALES, INC., a
Massachusetts for-profit corporation,

      Defendants.
____________________________________________/

                               SECOND AMENDED COMPLAINT
                                 (Amended as of March 11, 2019) 1




1
    Plaintiffs file this amendment, pursuant to the Court’s February 7, 2019 order.
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       Plaintiffs, MSP RECOVERY CLAIMS, SERIES LLC (“MSPRC”), MSPA CLAIMS 1,

LLC (“MSPA”), and Series PMPI, a designated series of MAO-MSO RECOVERY II, LLC,

SERIES PMPI (“MAO-MSO”) (collectively, “MSP Recovery” or “Plaintiffs”), file their Second

Amended Complaint against Defendants, Fresenius Medical Care Holdings, Inc., d/b/a Fresenius

Medical Care North America (“FMCNA”), Fresenius USA, Inc. (“FUSA”), Fresenius USA

Manufacturing, Inc. (“Fresenius Manufacturing”), Fresenius USA Marketing, Inc. (“Fresenius

Marketing”), and Fresenius USA Sales, Inc. (“Fresenius Sales”) (collectively, “Fresenius” or

“Defendants”), regarding their NaturaLyte Liquid and GranuFlo Acid Concentrates products.

       Plaintiffs’ allegations, proof, and statistical data presented in this complaint are based on

their own experiences and personal knowledge, their research, the research of their counsel,

publicly available articles, studies, reports, and other sources. In support thereof, Plaintiffs state:

                               I.      NATURE OF THE ACTION

       1.      Physicians, patients, and health insurers have a right to expect that the medical

devices they rely on are safe and perform effectively. As a foundation of that trust, device

manufacturers must comply with current Good Manufacturing Practices (“cGMP”). See 21 C.F.R.

pt. 820.1(a). Devices that fail to comply with cGMP are rendered adulterated and subject to

regulatory action. Id. at 820.1(c).

       2.      Medicare Payers, first-tier, downstream, and related entities, as well as Medicaid

payers such as Accountable Care Organizations and other payers (the assigning entities are

collectively referred to as the “Assignors”) assigned to Plaintiffs the right to recover payments that

they made, for which they are entitled to recovery or reimbursement.

       3.      As the ultimate party responsible for the health care costs of their Enrollees, the

Assignors suffered financial injury when they paid for, or otherwise provided medical care, to their




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Enrollees for injuries sustained as a result of having been administered the defective GranuFlo

products during hemodialysis.

          4.    The Assignors pay for medical care or provide care directly to their Enrollees, or

they have to reimburse direct payers because they ultimately bear the full financial loss and impact

of all amounts that are paid as a result of Defendant’s conduct delineated herein.

          5.    Pursuant to 42 C.F.R. § 411.26, Plaintiffs stand in the shoes of the Enrollees,

wherein they can collect the payments that were made by the Assignors, such as those arising from

injuries resulting from Defendants’ defective GranuFlo product.

          6.    Fresenius designs, tests, manufactures, labels, advertises, markets, promotes, sells

and distributes, products known as GranuFlo Acid Concentrates (“GranuFlo Acid”) and

NaturaLyte Liquid (“NaturaLyte”), both of which are subject to the cGMPs. See Exhibit A, FDA

Approval of 510(k) application no. K030497.

          7.    Dialysis is a process which removes waste from the bloodstream when a patient's

kidneys can longer perform the function.

          8.    GranuFlo Acid and NaturaLyte are products used in dialysis to achieve a proper

balance of acidity and alkalinity in a dialysis patient's blood.

          9.    GranuFlo Acid is a dry acid powder, and NaturaLyte is a liquid. Throughout this

complaint, Plaintiffs refer to GranuFlo Acid and NaturaLyte, collectively as “GranuFlo.”

          10.   GranuFlo was defective and unreasonably dangerous because Fresenius failed to

properly design the product, label the product, and/or adequately warn of its associated risks. As a

result, Fresenius exposed Enrollees to these dangerous products during dialysis, causing significant

health problems including, but not limited to, arrhythmia related injuries, and cardiopulmonary

arrest.




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       11.     Fresenius concealed its knowledge of the dangers associated with GranuFlo from

patients, health care providers, and the medical community alike. Specifically, at all relevant times

in this lawsuit, Fresenius knew or should have known of the risk of serious injury associated with

the use of GranuFlo, but failed to adequately disclose said risks to patients, health care providers,

and the medical community, including dialysis providers and dialysis patients, such as Enrollees.

       12.     The Assignors made payments on behalf of, or otherwise became financially

responsible for, Enrollees’ medical expenses incurred as a result of Defendants’ defective

GranuFlo product.

       13.     This is a lawsuit to recover damages for injuries sustained by the Assignors, as the

direct and proximate result of Defendants’ wrongful conduct, as they paid for Enrollees’ medical

expenses and/or services.

       14.     This action arises from the administration of GranuFlo in the dialysis treatment of

Enrollees, the resultant injuries suffered by Enrollees caused by GranuFlo, and the medical

expenses and economic losses incurred by the Assignors as a result of the defective nature of

GranuFlo.

       15.     This is not the first time that Fresenius has been sued as a result of the defective

nature of GranuFlo, including a failure to properly label, and a failure to adequately warn patients,

health care providers, the medical community, Enrollees, and Assignors about the negative effects

of GranuFlo.

       16.     Starting in 2012, Fresenius faced litigation in federal court, including through

multi-district litigation, and in numerous state court actions arising from the manufacturing,

marketing, sale, and use of the GranuFlo product. Certain pending cases were transferred and

consolidated in a multi-district litigation proceeding in the United States District Court for the




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District of Massachusetts, In Re: Fresenius GranuFlo/Naturalyte Dialysate Products Liability

Litigation, Case No. 13-MD-02428-DPW. Although this action originated in Eleventh Judicial

Circuit in and for Miami-Dade County, Florida, it was transferred to the multi-district litigation

proceedings.

       17.     As a result of these lawsuits, Fresenius has entered into numerous settlement

agreements.

       18.     During 2018, Plaintiffs, as well as MSP Recovery Services, LLC and MSP

Recovery, LLC, along with MSP Recovery Law Firm, the Plaintiffs’ Settlement Committee

(“PSC”), and Providio Lien Counsel, LLC, as the Lien Resolution Administrator and Qualified

Settlement Fund Administrator under the Master Settlement Agreement (“Providio”) entered into

a Private Lien Resolution Program Agreement (“PLRP”). At the time of the agreement, the exact

names of those individuals that were part of the settlement with Defendants were unknown to

Plaintiffs. Eventually, through the PLRP process and once the exact names were disclosed to

Plaintiffs, Plaintiffs were able to determine that it had claims against these defendants that did not

fall within the terms of the PLRP.

       19.     The PLRP pertained only to GranuFlo cases that qualified for compensation. As a

result, Plaintiffs filed the instant action against Defendants, which was originally filed as a Pure

Bill of Discovery, and is now being amended herein.

       20.     As such, the claims in this lawsuit do not consist of the claims that were settled in

the PLRP, since the claims that did fall within the PLRP have been separately settled and otherwise

resolved.

       21.     Defendants’ action caused third-party payers, including the Plaintiffs’ Assignors to

pay for the medical expenses and/or services resulting from the injuries Enrollees’ suffered




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throughout the United States, including in Massachusetts and Florida.

        22.     Therefore, this action seeks damages, together with interest, cost of suit, attorneys’

fees, and all such other relief as the Court deems just and proper.

                              II.     JURISDICTION AND VENUE

        23.     This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §

1332(a), as there is complete diversity among Plaintiffs and Defendants, and the amount in

controversy exceeds $75,000, exclusive of interest and costs.

        24.     Fresenius has significant contacts with this federal judicial district, such that they

are subject to the personal jurisdiction of this Court, and at all relevant times hereto, Defendants

developed, manufactured, promoted, marketed, distributed, tested, warranted, and sold GranuFlo

in interstate commerce.

        25.     A substantial part of the events and omissions giving rise to MSP Recovery’s causes

of action occurred in this federal judicial district.

        26.     Pursuant to 28 U.S.C. § 1391(a), venue is proper in this district.

                                       III.    THE PARTIES

        A.      The Plaintiffs

        27.     Plaintiff, MSPRC, is a Delaware series limited liability company with its principal

place of business located at: 2701 S. Le Jeune Road, 10th Floor, Coral Gables, Florida 33134.

MSPRC’s limited liability company agreement provides for the establishment of one or more

designated Series. All records of all Series are maintained together with all assets of MSPRC.

        28.     Plaintiff, MSPRC, has established various designated series pursuant to Delaware

law in order to maintain various claims recovery assignments separate from other company assets,

and to account for and associate certain assets with certain particular series. All designated series




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form a part of MSPRC. Pursuant to MSPRC’s limited liability agreement and applicable

amendment(s), each designated series will be owned and controlled by MSPRC. MSPRC may

receive assignments in the name of MSPRC and further associate such assignments with a

particular series or may have claims assigned directly to a particular series. In either event, MSPRC

will maintain the right to sue on behalf of each series and pursue any and all rights, benefits, and

causes of action arising from assignments to a series. Any claim or suit may be brought by MSPRC

in its own name, or it may elect to bring suit in the name of its designated series.

         29.     Certain series of MSPRC have executed irrevocable assignments of any and all

rights to recover payments made on behalf of their assignors’ health plan members and enrollees.

These assignments authorize the series and, in turn, MSPRC, to pursue and enforce all legal rights

of recovery and reimbursement for health care services and Medicare benefits. 2.

         30.     Plaintiff’s, MSPRC, limited liability agreement provides that any rights and

benefits arising from assignments to its series shall belong to MSPRC.

         31.     Plaintiff, MSPA, is a limited liability company that is duly organized, validly

existing, and in good standing under the laws of Florida, with its principal place of business in

Miami-Dade County, Florida.

         32.     Plaintiff, MAO-MSO, is a Delaware entity, with its principal place of business

located at: 45 Legion Drive, Cresskill, New Jersey 07626. MAO-MSO is a citizen of the State of

Delaware.

         B.      The Defendants

         33.     At all times relevant hereto, FMCNA is and was a corporation organized pursuant

to the laws of New York, with its headquarters and principal place of business located at: 920



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    The assignments incorporated in the Appendix herein depict such authorization.


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Winter Street, Waltham, Massachusetts. At all relevant times herein, FMCNA was in the business

of promoting, manufacturing, labeling, and distributing GranuFlo.

       34.     At all times relevant hereto, FUSA is and was a corporation organized pursuant to

the laws of Massachusetts, with its headquarters and principal place of business located at: 920

Winter Street, Waltham, Massachusetts. At all relevant times herein, FUSA was in the business of

promoting, manufacturing, labeling, and distributing GranuFlo.

       35.     At all times relevant hereto, Fresenius Manufacturing is and was a corporation

organized pursuant to the laws of Delaware, with its principal place of business located at: 920

Winter Street, Waltham, Massachusetts. At all relevant times herein, Fresenius Manufacturing was

in the business of promoting, manufacturing, labeling, and distributing GranuFlo.

       36.     At all times relevant hereto, Fresenius Marketing is and was a corporation

organized pursuant to the laws of Delaware with its headquarters and principal place of business

located at: 920 Winter Street, Waltham, Massachusetts. Its registered agent for service of process

within the Commonwealth is: CT Corporation System, 306 W Main St, Suite 512, Frankfort, KY

40601. Upon information and belief, Fresenius Marketing is and was a wholly owned subsidiary

of FMCNA. At all relevant times herein, Fresenius Marketing was in the business of promoting,

manufacturing, labeling, and distributing GranuFlo.

       37.     At all times relevant hereto, Fresenius Sales is and was a corporation organized

pursuant to the laws of Massachusetts with its principal place of business located at: 920 Winter

Street, Waltham, Massachusetts. Upon information and belief, Fresenius Sales is and was a wholly

owned subsidiary of FMCNA. At all relevant times herein, Fresenius Sales, Inc. was in the

business of promoting, manufacturing, labeling, and distributing GranuFlo.

       38.     FMCNA is a vertically integrated company that, through its wholly owned




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corporate subsidiaries and associated limited liability companies and clinics, including but limited

to FUSA, Fresenius Manufacturing, Fresenius Marketing and Fresenius Sales, is the largest

provider of kidney dialysis and renal care products, treatments, and services in the country.

         39.   The Fresenius products division sells dialysis equipment and products, including

GranuFlo not only to its own clinics’ division, but also sells them to many of its leading non-

Fresenius competitors, including DaVita, DCI, Renal Ventures, and many others.

         40.   As per Fresenius’ 2017 Annual Report, Fresenius’ Corporate Strategy is depicted

as: 3




         41.   Fresenius designs, tests, manufactures, labels, advertises, markets, promotes, sells,

and distributes various dialysis equipment, including dialysis machines and disposables, dialyzers,

bloodlines, acid dialysate concentrates, and other products used in the dialysis process, including

GranuFlo.

         42.   Fresenius provides dialysis treatment and services to nearly 200,000 people with

kidney disease at more than 2,200 dialysis centers nationwide. Moreover, as of 2016, Fresenius

had over 3,752 clinics worldwide. According to its most recent annual report, Fresenius’s most

important customers are state-owned or public health insurers, private health insurers, and




3
 See Creating Added Value: Annual Report 2017 (March 11, 2019),
https://www.freseniusmedicalcare.com/fileadmin/data/com/pdf/investors/News___Publications/
Annual_Reports/2017/FME_Annual_Report_2017.pdf.


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companies, and approximately 34% of the Company’s nearly €18 billion in consolidated 2017

revenue was attributable to U.S. federal health care benefit programs, such as Medicare and

Medicaid. 4

          43.      All conditions precedent to this action have occurred, been performed, or have

been waived.

                                 IV.  STANDING:
                    THE REPRESENTATIVE ASSIGNMENT AGREEMENTS

          44.      Plaintiffs have been assigned all legal rights of recovery and reimbursement for

health care services and Medicare benefits provided by Assignors that administer Medicare

benefits for Medicare beneficiaries under Medicare Part C and/or Medicare Part D; whether said

rights arise from (i) contractual agreements, such as participation and network agreements with

capitation and risk sharing arrangements, and/or (ii) state and federal laws that provide for the

reimbursement of payments made by the assignor health plans, including the right to recover

claims for health care services on a fee-for-service basis.

          45.      The Assignors have assigned all rights, title, and interest to the recoverable claims,

conferring standing to MSP Recovery to bring this lawsuit. These are all valid and binding

contracts.

          46.      Plaintiffs’ Assignors provided payment for the medical items and services related

to the GranuFlo that was prescribed and administered to their Enrollees in Florida, and across the

United States. 5




4
    See id.
5
 Attached as Exhibit 1 to this complaint, are the instances wherein Plaintiffs’ Assignors made
payment.


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Plaintiff MSPRC’s Standing:

       47.     Certain series of MSPRC have executed irrevocable assignments of any and all

rights to recover payments made on behalf of their Assignors’ health plan members and enrollees.

These assignments authorize the series and, in turn MSPRC through its operating agreement, to

pursue and enforce all legal rights of recovery and reimbursement for health care services and

Medicare benefits.

       48.     The assignments to Plaintiffs, which are alleged in detail in the Appendix to this

complaint, are valid and binding contracts.

Plaintiff MSPA’s Standing:

       49.     MSPA has executed irrevocable assignments of any and all rights to recover

payments made on behalf of its Assignors’ health plan members and enrollees. These assignments

authorize MSPA to pursue and enforce all legal rights of recovery and reimbursement for health

care services and Medicare benefits.

       50.     The assignments to Plaintiffs, which are alleged in detail in the Appendix to this

Complaint, are valid and binding contracts.

Plaintiff MAO-MSO’s Standing:

       51.     MAO-MSO has executed irrevocable assignments of any and all rights to recover

payments made on behalf of its Assignors’ health plan members and enrollees. These assignments

authorize MAO-MSO to pursue and enforce all legal rights of recovery and reimbursement for

health care services and Medicare benefits.

       52.     The assignments to Plaintiffs, which are alleged in detail in the Appendix to this

Complaint, are valid and binding contracts.




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                              V.      GENERAL ALLEGATIONS

       A.      Hemodialysis

      53.      The kidneys regulate the balance of electrolytes in the blood, and filter the blood

by removing water-soluble wastes, which are diverted to the bladder and excreted as urine.

       54.     Chronic kidney disease and acute kidney disease can cause the kidneys to lose their

ability to remove waste and extra fluid from the body.

       55.     End stage renal disease (“ESRD”) is a complete loss of kidney function, as a result

of chronic kidney disease and acute kidney disease. People with ESRD require regular dialysis for

survival. More than 650,000 patients per year in the United States, and an estimated 2 million

patients worldwide are affected by ESRD.

       56.     Dialysis is a treatment for patients suffering from late-stage kidney failure.

Approximately 90% of dialysis patients receive hemodialysis, a process where the blood is slowly

pumped from the body into an external dialysis machine where waste products are filtered out.

Waste products accumulate rapidly in the blood and, as such, a hemodialysis patient may need

treatment three times a week, for an average of four hours per treatment. Hereinafter, the

hemodialysis treatment will be referred to as “dialysis.”

       57.     The dialysis machine contains an artificial kidney dialyzer that has two

compartments separated by a thin semi-permeable membrane. One compartment contains the

patient’s blood, and the other contains a solution called dialysate or a “bath.”

       58.     Dialysate consists of water and chemicals (electrolytes) used to remove excess

fluids and waste from the blood.




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       59.     Smaller waste products in the blood, such as urea, creatinine, potassium, and extra

fluid pass through the membrane and are washed away by the fluid in the dialysate compartment.

The dialysate solution that contains the toxic substances removed from the blood is discarded.

       60.     The filtered blood consists of blood cells, proteins, and other important components

that are too big to pass through the membrane; the filtered blood is pumped back into the body.

       61.     A dialysate delivery system monitors and controls the temperature, conductivity,

flow rate, and pressure of the dialysate solution that circulates through the dialysate compartment

of the dialyzer. The dialysate delivery system includes dialysate concentrate for hemodialysis,

either in liquid form, like NaturaLyte, or in dry powder form, like GranuFlo.

       62.     The dialysis process is graphically depicted in the following diagram:




       63.     Most dialyzers use a “three stream method,” wherein the dialysate is made by

mixing purified water in appropriate proportions with a bicarbonate concentrate base and an acid

concentrate. This solution delivers necessary minerals to the body and removes waste products

that would, otherwise, be removed by healthy kidneys.

       64.     The bicarbonate base portion of the dialysate solution is alkaline, which serves to

neutralize or buffer some of the excess acid in the patient’s blood; thereby, preventing metabolic




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acidosis, a potentially life-threatening condition occurring when the body produces excess acid or

when the kidneys fail to adequately remove acid from the body. To prevent this dangerous

condition, physicians prescribe a specific amount of bicarbonate. The amount prescribed is based

upon each individual patient's blood serum level, to be delivered during hemodialysis.

       65.     An acid concentrate, such as acetic acid, citric acid, or sodium diacetate, maintains

the proper pH of the dialysate and helps keep the minerals in the solution. When the bicarbonate

base and the acid solution are combined to form the dialysate, a chemical reaction takes place

wherein the organic acid consumes an amount of bicarbonate in the final dialysate equivalent to

the amount of acid. This loss of bicarbonate is balanced by an equal gain in acetate, which the liver

rapidly metabolizes into bicarbonate.

       66.     As a result, dialysis patients receive bicarbonate from two sources: directly from

the bicarbonate concentrate used in the dialysate, and indirectly through metabolization.

Collectively, the bicarbonate delivered to the patient through the bicarbonate concentrate and

metabolization is known as the “total buffer.” These elements must be carefully balanced because

both low pH levels (“acidosis”) and high pH levels (“alkalosis”) are abnormal, potentially life-

threatening conditions.

       B.      GranuFlo

       67.     GranuFlo is a dry acid concentrate powder designed to be mixed with purified

water. Shipping dry acid powder instead of liquid lowers shipping and storage costs associated

with traditional 55-gallon drums used to transport and store liquids.

       68.     GranuFlo is a dialysate product used to remove impurities in the blood during the

dialysis process.




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          69.   GranuFlo is not regulated by the Food and Drug Administration (“FDA”) as a

“drug.”

          70.   There is no National Drug Code, HCPCS J-Code, or other code that has been

assigned to GranuFlo.

          71.   GranuFlo is approved and regulated by the FDA as Class III medical “device.”

          72.   The Medical Device Amendments of 1976 to the Federal Food, Drug, and Cosmetic

Act (“the MDA”) established three regulatory classes for medical devices. The three classes are

based on the degree of control necessary to assure that the various types of devices are safe and

effective. The most stringently regulated devices are in Class III.

          73.   A device is a Class III device if: (1) it is one that is life-supporting or life-

sustaining 6; (2) its use is of substantial importance in preventing impairment of human health, or

(3) the device presents a potential unreasonable risk of illness or injury. See 21 C.F.R. §

860.3(c)(3).

          74.   Because of the potential unreasonable risk of illness or injury, under Section 515 of

the MDA, all manufacturers wishing to market a Class III device must submit a Premarket

Approval Application (“PMA”), which initiates a stringent pre-market scientific certification

process to ensure the safety and effectiveness of a Class III device. This process is similar to the

process employed by the FDA to approve new drugs.

          75.   However, Section 510(k) of the MDA establishes a streamlined procedure that

permits the device manufacturer to make a premarket submission to FDA demonstrating that the

device to be marketed is safe and effective because it is substantially equivalent to a previously-



6
  A life-supporting or life-sustaining device is essential to or yields information that is essential to
the restoration or continuation of a bodily function important to the continuation of human life.
See 21 C.F.R. § 860.3(e).


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approved Class III device already on the market. If the FDA determines that the new device is

substantially equivalent to the predicate device, it will issue a letter to the manufacturer assigning

it a 510(k) number and authorizing the manufacturer to immediately market the device.

       76.     On February 14, 2003, using the Section 510(k) process, Fresenius provided the

FDA with notice that it intended to market GranuFlo as the substantial equivalent of a Fresenius

dialysate predicate device. See Exhibit A, FDA Approval of 510(k) application no. K030497.

       77.     On May 20, 2003, the FDA cleared GranuFlo for marketing. By utilizing the

Section 510(k) process, Fresenius avoided the FDA’s rigorous pre-market scientific certification

process to ensure the safety and effectiveness of GranuFlo that new device manufacturers

ordinarily would have been forced to undergo.

       78.     After being cleared by the FDA, Fresenius immediately began to aggressively

market the new concentrated dialysate under the name GranuFlo, intended to be used in three-

stream hemodialysis machines calibrated for acid and bicarbonate concentrates.

       79.     In marketing and advertising claims for GranuFlo, Fresenius claimed and

represented that it was a “safe” product. For instance, it indicated:

               a. GranuFlo was the most-widely prescribed dry acid product in the dialysis
                  Industry, whereby its unique composition of evenly distributed electrolytes
                  was the result of our exacting production technology. With GranuFlo’s
                  distinctive proportional component blend in each bag, Fresenius claimed it
                  made the safest choice for onsite concentrate mixing;

               b. GranuFlo was safe for your patients and your staff, as Fresenius’ utilization of
                  dry Sodium Diacetate eliminated the need for hazardous liquid glacial Acetic
                  Acid, making GranuFlo the safest dry acid product;

               c. The Dry Acid Advantage




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               d. GranuFlo Dry Acid Dissolution System eliminated 55-gallon drums
                  providing clinics with valuable storage space (4 times the concentrate with
                  the same amount of space). One pallet consisted of four (4) 55- gallon drums,
                  which was equivalent to 220 total gallons of liquid acid concentrate. One
                  pallet of GranuFlo dry acid concentrate consisting of 48 cases, equivalent to
                  792 gallons - a ratio of nearly 4 to 1; and

               e. The cost advantage of dry acid allowed Fresenius to deliver the most
                  competitive price per gallon over liquid concentrate, while at the same
                  time, offering superior clinical outcomes.

       80.     Many acid concentrates contain acetic acid or citric acid; however, GranuFlo

contains sodium diacetate. Sodium diacetate is equally composed of acetic acid and sodium

acetate. As with the chemical reaction discussed above, when sodium diacetate combines with

bicarbonate to make the dialysate, the acetic acid portion consumes an equal amount of bicarbonate

and produces and equal amount of acetate. The sodium acetate portion, however, does not consume

bicarbonate. Instead, it enters the bloodstream without reacting where because it is also a

bicarbonate precursor it is metabolized by the liver resulting in an unintended increase in the

amount of bicarbonate delivered during dialysis.

        C.      The problem - elevated bicarbonate levels

       81.     Due to GranuFlo's combination of both acetic acid and sodium diacetate, GranuFlo

can dangerously increase bicarbonate levels beyond the levels prescribed by a patient's physician.




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         82.   Acidosis is an increased acidity in the blood caused by the body’s inability to

excrete acid due to kidney failure. It is a typical occurrence for patients with kidney failure.

         83.   Severe acidosis can lead to shock or death.

         84.   Dialysis attempts to correct an acidotic state, in part, by adding bicarbonate to the

patient’s blood.

         85.   The opposite of acidosis is alkalosis where a patient’s blood has excess base

(alkali).

         86.   Alkalosis is caused by too much bicarbonate in the blood.

         87.   Symptoms of alkalosis include confusion, tremors, light-headedness, muscle

twitching, nausea, vomiting, numbness, and/or tingling in the face, hands, or feet.

         88.   Alkalosis can cause a patient to experience seizures, severe breathing difficulties,

cardiac arrhythmias, and/or death.

         89.   Dialysis primarily entails the removal of waste products from the body, promotion

of electrolyte balance in the blood, and addition of bicarbonate to the patient’s blood to correct

acidosis.

         90.   The dialysate used during dialysis is a mixture of a bicarbonate concentrate and an

acid concentrate (Granuflo and/or NaturaLyte are the acid concentrate portions). The dialysate

(bicarbonate and acid solutions) then flows through the dialyzer and interacts with the patient’s

blood.

         91.   Bicarbonate concentrate is used on all dialysis patients, but the amount of

bicarbonate delivered to a patient can be adjusted depending on the patient’s needs.

         92.   All acid concentrates (liquid or dry) contain acid. NaturaLyte contains acetic acid,

whereas GranuFlo Acid contains sodium diacetate.




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       93.     Patients with renal failure tend to become acidotic, and that problem is corrected

primarily by adding bicarbonate to their blood. Therefore, all dialysate solutions contain

bicarbonate to correct the naturally occurring acidosis in patients with renal failure.

       94.     Granuflo is an acid concentrate used in the creation of dialysate.

       95.     NaturaLyte, a liquid acid concentrate, yields a concentration equal to 4 meq/L of

acetate when put into solution for use in dialysis.

       96.     GranuFlo Acid, a dry acid concentrate, yields a concentration equal to 8 meq/L of

acetate when put into solution for use in dialysis.

       97.     GranuFlo has been on the market for many years and is unique in the dialysis

industry because it contains sodium diacetate. GranuFlo increases the amount of acetate in

dialysate (the fluid and solutes in a dialysis process that flow through the dialyzer machine).

       98.     When introduced into the body, the liver converts the acetate contained in acid

concentrates into bicarbonates, which increases bicarbonate levels in the blood.

       99.     Granuflo is intended to be used in conjunction with a sodium bicarbonate

concentrate.

       100.    GranuFlo Acid contains sodium diacetate (two acetates), whereas liquid products,

like NaturaLyte contain only acetic acid with one acetate. Once in the body, one molecule of

acetate is converted by the patient’s liver into one molecule of bicarbonate. However, every

molecule of sodium diacetate is converted in the liver into two molecules of bicarbonate. Thus,

the net effect of the conversion of acetic acid contained in NaturaLyte or sodium diacetate

contained in GranuFlo is that the patient is exposed to an unanticipated amount of bicarbonate and

consequently an unanticipated amount of total buffer that exceeds what was prescribed by the




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physician attending to the patient. The conversion of diacetate in the liver to two molecules of

bicarbonate results in a higher total buffer than prescribed by the physician.

           101.   Dialysis machines must account for the amount of bicarbonate that is prescribed by

the physician, and they must provide the clinic and technicians with an ability to confirm that what

is delivered to the patient is the total amount of bicarbonate prescribed for administration to the

patient.

           102.   Bicarbonate levels are described in terms of milliequivalents per liter (mEq/L).

When GranuFlo and/or NaturaLyte is used, it adds, respectively, 8 and 4 mEq/L to the total amount

of bicarbonate delivered to the patient. In 2005, Fresenius estimated that for every 4 mEq/L

decrease or increase in dialysate total buffer there will be corresponding 1-2 mEq/L change in the

pre-dialysis serum bicarbonate. According to internal Fresenius documents, GranuFlo can add as

much as 3-4 meq/L of buffer to the amount in total delivered to the patient.

           103.   The net effect of the additional bicarbonate administered to patients by GranuFlo is

that a significant number of dialysis patients develop an unexpectedly rapid increase in elevated

levels of bicarbonate in their blood during dialysis, as well as the potential for added serum

bicarbonate post dialysis as the acetate in the blood continues to metabolize into bicarbonate.

Patients with elevated bicarbonate levels in their blood suffer from metabolic alkalosis, the

opposite of acidosis, and high bicarbonate levels in the blood increases a patient’s risk of

cardiopulmonary arrest (“CP”) or sudden cardiac arrest.

           104.   The term “total buffer level” refers to the sum of the bicarbonate from the base and

the bicarbonate converted from the acetate in the acid portion of the dialysate. Thus, if there are

33 mEq/L of bicarbonate from the bicarbonate concentrate and 4 mEq/L of acetate from the acid

concentrate, the total buffer level is approximately 37 mEq/L.




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       105.    At all relevant times, Fresenius knew, or should have known, that the addition of

an acid concentrate of acetic acid or sodium diacetate (acetic acid plus acetate) contained in

GranuFlo would lead to a dangerous increase in serum bicarbonate levels in patients undergoing

hemodialysis. Fresenius knew, or should have known, that this contributes to metabolic alkalosis,

which is a significant risk factor associated with many health problems including heart arrhythmia,

cardiopulmonary arrest, and sudden cardiac arrest.

       106.    In a patent application assigned to Fresenius, which was filed on May 17, 2006, but

which references a provisional application filed exactly one year earlier, the application describes

an invention which takes into account "a contribution of bicarbonate resulting from metabolism of

acetate contained in an acid dialysate constituent." The application also contains a diagram of

machine settings when using GranuFlo that clearly shows the extra contribution of 4 mEq/L of

bicarbonate to the overall amount of buffer. Fresenius also knew that its dialysis machines required

special instructions when using GranuFlo to reduce the risk of dangerously high bicarbonate levels

associated with the concentrated GranuFlo dialysate. Certain communications in this timeframe

demonstrate that Fresenius dialysis machines required a "halving" of the Acetate Value when

entering the value in the operator settings in preparation for patient treatment. Stated otherwise,

during 2008, Fresenius employees were being advised to reduce the amount of bicarbonate in

dialysis treatment through manipulation of the dialysis machine settings. Despite this internal

knowledge, Fresenius chose not to inform the nephrology/dialysis medical community at large,

and users of GranuFlo of the dangers associated with the product and the discrepancy in dialysis

machine data entry until just before the FDA initiated a Class I recall in March 2012.




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       107.    During 2008, some members of the dialysis medical community discovered that

GranuFlo caused unintended dangerously elevated bicarbonate levels and, on information and

belief, Fresenius’ employees were aware of this problem prior to 2005.

       108.    As such, starting in 2008, Defendants began advising employees in their Fresenius

clinics to reduce the amount of bicarbonate in dialysis treatment by manipulating the dialysis

machine settings. Defendants revised the instruction manual that was used by operators for certain

Defendant-manufactured dialysis machines, including the 2008T model. The revisions instructed

users: “When entering the Acetate value for GranuFlo concentrate, only half of the listed value on

the label should be entered. For example, if the label shows an Acetate value of 8, then only enter

4.” (2008T Machine Operator's Manual PIN 490122 Rev E Copyright 2008- 2010).

       109.    In April 2009, Defendants’ employees, including their Chief Medical Officer Dr.

Raymond Hakim, M.D., Ph. D., attended a four-day conference in Boston, Massachusetts entitled

“ESRD: State of the Art and Charting the Challenges for the Future.” The main purpose of the

conference was to “address the lack of improvement in dialysis patient survival over the last twenty

years.” Dr. Hakim served on the Steering Committee for the conference.

       110.    The conference was attended by Fresenius employees, including Dr. Hakim,

who also served on the Steering Committee for the conference.

       111.    At the conference, attendees were advised that “sudden cardiac death was identified

as the #1 cause of death for dialysis patients, accounting for 59% of cardiovascular-related deaths.”

These deaths were attributed to factors other than atherosclerotic disease. Specifically, the cardio-

pulmonary arrest-related deaths were caused by “uremic cardiomyopathy, characterized by left

ventricular hypertrophy (L VH), L V dysfunction, and L V dilatation.” In less technical terms, the

enlarged muscle walls of the left ventricle become fibrotic and fail to conduct electrical impulses




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correctly. This happens because of repeated and continual fluid overloads in the body, which is a

common occurrence in patients on dialysis because of their reduced urine production.

       112.    Following the conference, from January 1 to December 31, 2010, Dr. Hakim and

other Fresenius employees conducted a case-control study to determine what was killing patients

in Fresenius clinics. The study revealed that 941 patients from 667 facilities suffered from

cardiopulmonary arrest while in Fresenius’ facilities. This figure is over six times higher than that

of competing products.

       113.    Sometime in 2009 or 2010, Fresenius revised the manual used by operators for

certain Fresenius-manufactured dialysis machines, including the 2008T model. The revisions

instructed users that "[w]hen entering the Acetate value for GranuFlo concentrate, only half of the

listed value on the label should be entered. For example, if the label shows an Acetate value of 8,

then only enter 4." (2008T Machine Operator's Manual PIN 490122 Rev E Copyright 2008- 2010).

       114.    On September 15, 2010, the FDA sent a Warning Letter to Fresenius after an

investigation revealed that, among other things, Fresenius was inadequately addressing complaints

filed by patients using the company’s products. The letter addressed five major areas of fault,

including, but not limited, to the “[f]ailure to establish procedures for investigating the cause of

nonconformities stemming from incidents pertaining to NaturaLyte Acid Concentrate” and

“[f]ailure to establish and maintain an adequate preventative action to ensure identification of

actions needed to correct and prevent problems.”

       115.    On or about November 4, 2011, Dr. Hakim authored the Fresenius Secret Memo

referenced above entitled “RE: Dialysate Bicarbonate, Alkalosis, and Patient Safety, which

summarized the results of the case-control study.” See Exhibit B, Fresenius Secret Memo.

       116.    The Fresenius Secret Memo concluded, among other things that:




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          a. Recent analyses performed using FMCNA hemodialysis (HD) patient safety data
             confirms that alkalosis is a significant risk factor associated with cardiopulmonary
             (CP) arrest in the dialysis unit,

          b. The major cause of metabolic alkalosis in dialysis patients is inappropriately high
             dialysate total buffer concentration. As recommended in previous
             communications, physicians should individualize dialysate bicarbonate and total
             buffer prescriptions independent of and additive to the risk of CP arrest associated
             with pre-dialysis hypokalemia. We further recommend that pre-dialysis serum
             bicarbonate level of >24 mEq/L should prompt immediate review of dialysate
             bicarbonate prescription.

          c. Over time, the progressive shift towards higher pre-dialysis serum bicarbonate
             level not only implies that more patients have alkalosis prior to dialysis, but that
             an even higher percentage of patients have alkalosis post-dialysis.

          d. The current analysis determined that “borderline elevated pre-dialysis
             bicarbonate levels and overt alkalosis are significantly associated with 6 to 8 fold
             greater risk of CP arrest and sudden cardiac death in the dialysis facility”
             [Emphasis added].

          e. In light of these troubling findings, we strongly recommend that physicians
             adjust dialysate bicarbonate prescriptions monthly for individual patients, with
             immediate attention to patients with serum pre-dialysis bicarbonate level of >24
             mEq/L. The bicarbonate prescription entered into the dialysis machine
             underestimates the total buffer that the patient receives from the dialysate - by -
             8 mEq/L in the case of dialysate prepared from GranuFlo (powder) or by -4
             mEq/L in the case of dialysate prepared from NaturaLyte (liquid) - since acetate
             is rapidly converted into bicarbonate by the liver. Please familiarize yourself
             with the formulation utilized in each of your facilities and consider lower
             bicarbonate prescriptions (e.g. 31-33 mEq/L so that total buffer is no greater than
             39-41 mEq/L when using GranuFlo), and adjust monthly depending on each
             patient's pre-dialysis bicarbonate level.

          f. A case-control study evaluated risk factors in HD patients who suffered from CP
             arrest in the facility (N=941 patients from 667 facilities) compared to other HD
             patients (N=S0,516) within the same facilities between January 1 and December
             31, 2010.

The report made the following recommendations:

          a. Pre-dialysis alkalosis and hypokalemia are modifiable risk factors associated with
             CP arrest. Previous reports have identified hypokalemia as a risk factor for cardiac
             arrest and sudden cardiac death in the HD facility and this was related to the use
             of low potassium dialysate (OK, 1 K). Thus, FMCNA policies and practices have
             required routine review of dialysate potassium orders and have limited use of very



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                low potassium dialysate. However, there has not been enough of a quality focus
                on alkalosis because the clinical guidelines have primarily emphasized avoidance
                of metabolic acidosis.5 Over time, there has been a shift towards higher dialysate
                bicarbonate prescriptions accompanied by increasing serum bicarbonate levels
                before dialysis and presumably much higher post dialysis. This issue needs to be
                addressed urgently.

             b. High pre-dialysis serum bicarbonate level was independent of and may potentiate
                the death risk associated with low pre-dialysis serum potassium. It is an actionable
                risk factor, by individualization of dialysate bicarbonate prescriptions to keep
                patients' pre-dialysis serum bicarbonate within a narrower range and to avoid
                alkalosis. We strongly recommend that physicians individualize dialysate
                prescriptions, review them monthly, with consideration of patient's pre-dialysis
                bicarbonate and dialysate total buffer, with immediate attention to decreasing
                prescribed dialysate bicarbonate in patients with pre-dialysis bicarbonate level of
                >24 mEq/L.

             c. Many facilities have converted to the Fresenius powdered "GranuFlo"
                formulation that has total buffer equal to "prescribed bicarbonate plus 8" - due to
                4 mEq/L of sodium acetate in addition to the 4 mEq/L of acetic acid (acetate).
                There are instances whereby the physicians' bicarbonate prescriptions were kept
                the same when shifting to power concentrate (GranuFlo) (failing to account for
                the additional 8 mEq/L of sodium acetate), thus exposing patients to a higher total
                buffer load than intended. While >60% of current dialysate prescriptions are for
                37 mEq/L of bicarbonate, it may be prudent to initially target a prescription of 31-
                33 mEq/L of dialysate bicarbonate (with total buffer greater by up to -8 mEq/L
                from acetate) and adjust according to patients' monthly bicarbonate level. Please
                recall also that an additional source of bicarbonate may be the phosphate binders
                that are prescribed to patients.

The Fresenius Secret Memo also reflected:

                Previously, several memos were sent to you from the Medical Office to explain the
                difference in total buffer between Naturalyte (liquid) and GranuFlo (powder)
                dialysate formulations. The information was accompanied by a recommendation to
                address pre-dialysis alkalosis found in an increasing proportion of your patients, by
                decreasing the prescribed dialysate bicarbonate as needed. These previous memos,
                as well as a related article in the Medical Staff Newsletter, are accessible via
                Doctors Corner and also upon request. In addition, two presentations containing
                relevant information were recently presented at the Medical Directors' Symposium,
                one by Brooks Rogers and the other by Dr. Jeff Sands and both are also available
                for download in Doctors Corner.

        D.       Fresenius failed to adequately disclose the associated risks of GranuFlo




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       117.    For numerous years, Fresenius withheld vital critical GranuFlo related information

from its own clinical staff, and from the clinical staff of its non-Fresenius customers that could

have prevented numerous adverse heart attacks and deaths.

       118.    Based on Defendants' knowledge of the chemical structure and resulting metabolic

process in the human body, combined with the knowledge readily available to Defendants as early

as 2004, Defendants knew or should have known of the increased risk of metabolic alkalosis

attributed to the use of GranuFlo.

       119.    During this time, Defendants also knew that their dialysis machines required special

instructions when using GranuFlo to reduce the risk of dangerously high bicarbonate levels

associated with the concentrated GranuFlo dialysate.

       120.    Upon information and belief, as early as 2004, Fresenius was aware that patients

with increased pre-dialysis metabolic alkalosis levels were more likely to experience a heart attack

or sudden cardiac death if the bicarbonate prescription was not lowered.

       121.    Prior to the FDA recall, Fresenius knew that the use of GranuFlo in the dialysis

process resulted in dangerously increased bicarbonate levels. In 2010, Fresenius conducted a

clinical study, which revealed that 941 patients in 667 Fresenius dialysis facilities had

cardiopulmonary arrests and that the patients’ risk of cardiopulmonary arrest was up to six times

higher if they had an elevated pre-dialysis bicarbonate level. On November 4, 2011, Fresenius

issued an internal memo ("the Fresenius Secret Memo”) disclosing the results of this study.

Fresenius shared the Fresenius Secret Memo with its own dialysis clinical staff, but they did not

disclose it to their non-Fresenius outside customers.

       122.    At some point, a copy of the Fresenius Secret Memo was anonymously leaked to

the FDA. On March 27, 2012, Fresenius received an inquiry from the FDA regarding the




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GranuFlo-related products and alkalosis. After the FDA inquiry, on March 29, 2012, Fresenius

finally released a 2-page, stripped-down, scientifically-vague, memo to its non-Fresenius

customers that omitted critical information and references contained in the Fresenius Secret Memo.

See Exhibit C, Fresenius Bulletin.

        123.    Despite this internal knowledge, Defendants chose not to inform other non-

Fresenius clinics, the nephrology/dialysis medical community at large, and/or end users of

GranuFlo of the dangers associated with their product and the discrepancy in dialysis machine

settings and data entry.

        124.    From 2008 through 2010, Fresenius failed to notify all users of Fresenius

concentrated dialysate, GranuFlo, of the necessity to "halve" Acetate levels when setting the

parameters on dialysis machines while using these products. To the extent Fresenius provided

information, it did so partially, selectively, and haphazardly in a way that was calculated to avoid

general dissemination of necessary warnings, instructions and problems associated with its

products. Fresenius' failure to fully and forthrightly inform and warn the medical/dialysis

community directly affected patient health and safety and led to the deaths of innumerable

innocent patients.

        125.    The Fresenius Secret Memo was purposefully released solely to Fresenius’ own

dialysis clinics, facilities, doctors, and technicians, warning of the significant risk of cardiac arrest

and sudden cardiac death in patients with elevated bicarbonate levels as a result of using GranuFlo

in dialysis treatments. Fresenius did not provide copies of the Fresenius Secret Memo to non-

Fresenius companies and dialysis clinics that used GranuFlo, which they purchased from Fresenius

or, otherwise, inform those companies or clinics.




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       126.    The Internal Memo advised Fresenius dialysis clinics to "familiarize yourself with

the formulation utilized in each of your facilities and consider lower bicarbonate prescriptions ...

and adjust monthly depending on each patient's pre-dialysis bicarbonate level."

       127.    On November 16, 2011, 12 days after the Fresenius Secret Memo was released,

Fresenius issued a press release indicating that Dr. Hakim was stepping down as Fresenius’

Medical Director as of December 12, 2011, and that he would be replaced by Dr. Frank Maddux.

       128.    Sometime in March 2012, over four months after the Fresenius Secret Memo was

circulated to Fresenius clinics or companies, the memo was anonymously leaked to the FDA.

       129.    Upon information and belief, on March 27, 2012, Fresenius received an inquiry

from the FDA with regards to the GranuFlo-related products and alkalosis.

        E.      The bulletin and FDA recall

       130.    On March 29, 2012, 2 days after the FDA inquiry, Fresenius finally released a 2-

page, abbreviated, scientifically-vague, memo to its non-Fresenius customers warning doctors of

the dangers associated with its products. The abbreviated memo omitted critical information and

references contained in the original Fresenius Secret Memo. The abbreviated memo concluded

among other things that:

       Previous reports have identified an association between elevated pre-dialysis
       bicarbonate levels and an increased mortality risk. Recent analyses performed using
       FMCNA hemodialysis (HD) patient safety data confirms that alkalosis is a
       significant risk factor associated with cardiopulmonary (CP) arrest in the dialysis
       unit, independent of and additive to the risk of CP arrest associated with pre-dialysis
       hypokalemia. A major cause of metabolic alkalosis in dialysis patients is
       inappropriately high dialysate total buffer concentration.

[See Exhibit C, Fresenius Bulletin].

       131.    The March 29, 2012 memo further stated that:

       Recent analyses performed by FMCNA [Fresenius Medical Care North
       America] hemodialysis (HD) patient safety data confirms that alkalosis [high



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          levels of bicarbonate] is a significant risk factor associated with
          cardiopulmonary (CP) arrest in the dialysis unit, independent of and additive to
          the risk of CP arrest associated with pre-dialysis hypokalemia. A major cause
          of metabolic alkalosis is dialysis patients is inappropriate high dialysate total
          buffer concentration.

See id.

          132.   The March 29, 2012 notice contained an "urgent product notification involving

the NaturaLyte and GranuFlo powder product lines" and recommended that "clinicians

exercise their best judgment regarding bicarbonate and total buffer base prescriptions for each

patient." See id.

          133.   Fresenius failed to adequately warn of the dangers associated with the use of

GranuFlo when it manufactured, distributed, and concealed those dangers from the public and

the FDA up to and including March 29, 2012.

          134.   Additionally, on March 29, 2012, the FDA reported Fresenius' voluntary Class 1

recall of GranuFlo, which warned users of the heightened risk for low blood pressure, hypokalemia

(low potassium levels), hypoxemia (low blood oxygen), hypercapnia (high carbon dioxide levels),

cardiac arrhythmia, and possibly sudden death associated with the use of its products.

          135.   On May 2012, the FDA issued a safety communication recommending that

“[h]ealth care providers should review the dialysate acid concentrate labeling for the specific

concentrate that they prescribe to determine the components that can contribute to the patient’s

overall bicarbonate levels.” See Exhibit “D” FDA Memo: Dialysate Concentrates Used in

Hemodialysis: Safety Communication – Alkali Dosing Errors. This communication was as a result

of a complaint it received describing alkali dosing errors that occurred during dialysis. Id.

          136.   On June 25, 2012, the FDA issued a Class I recall of GranuFlo because the use of

GranuFlo could result in high bicarbonate levels, which resulted in metabolic alkalosis, a condition




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that had been linked to a nationwide epidemic of dialysis-related adverse cardiac events including

arrhythmia, heart attacks, strokes, and death. [See Exhibit E, FDA Recall Notice].

       137.    Class I recalls are the most serious type of recall and involve situations in which

there is a reasonable probability that use of these products will cause serious adverse health

consequences or death.

       138.    As such, Fresenius is currently under investigation by the FDA for its failure to

warn known users of its products of the risks associated with such usage of its products.

       139.    The FDA issued a statement to the public indicating that the reason for the recall

was because:

       The manufacturer is cautioning clinicians to be aware of the concentration of acetate or
       sodium diacetate (acetic acid plus acetate) contained in Fresenius' Naturalyte Liquid and
       Granuflo Dry Acid Concentrate. Inappropriate prescription of these products can lead to a
       high serum bicarbonate level in patients undergoing hemodialysis. This may contribute to
       metabolic alkalosis, which is a significant risk factor associated with low blood pressure,
       hypokalemia, hypoxemia, hypercapnia and cardiac arrhythmia, which, if not
       appropriately treated, may culminate in cardiopulmonary arrest. This product may cause
       serious adverse health consequences, including death.

See Exhibit “F” FDA Recall. As per the FDA, it issued a general safety communication related to

inappropriate prescription and resultant alkali dosing errors in the dialysate concentrates used in

hemodialysis. Id.

       140.    The Class I Recall of GranuFlo and NaturaLyte by the FDA indicated that the

“[i]nappropriate prescription of these products can lead to a high serum bicarbonate level in

patients undergoing hemodialysis.” Id.

       F.      The defective nature of GranuFlo

       141.    Fresenius’s breaches of warranty, acts of negligence, and/or other wrongful

acts, by and through its agents, servants, workmen, and employees, were the direct and




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proximate causes of the injuries suffered by Enrollees, as a result of being administered GranuFlo,

in that they:

           i. failed to properly design, manufacture, and test GranuFlo;

           ii. sold, marketed, and distributed GranuFlo in a dangerously defective condition;

           iii. sold, marketed, and distributed GranuFlo when it was not reasonably fit and

                suitable for its ordinary and intended purpose;

           iv. failed to adequately warn purchasers and users of GranuFlo's defective condition

                before, during and after sale and delivery of the product;

           v. failed to properly inspect and test GranuFlo;

           vi. sold, marketed, and distributed GranuFlo when they knew or should have known

                of its inherent design defects;

           vii. failed to properly and fully investigate prior incidents involving deaths and other

                personal injuries related to the use of GranuFlo during dialysis;

          viii. failed to correct known design and engineering deficiencies; and

           ix. failed to properly or adequately address defects in GranuFlo and implementing an

                inadequate Recall Campaign that defendants knew or should have known was

                deficient and not likely to correct the defects and dangers inherent in GranuFlo.

       142.     Defendants’ failure to disclose the defective nature of GranuFlo, the limited

reach of its recall campaign, and the failure to notify the families of patients who suffered

cardiac arrest, sudden cardiac death, and other adverse cardiac events during dialysis, of the

association between GranuFlo and these injuries prevented the Assignors from knowing that

their Enrollees’ injuries were potentially related to the use of the defective GranuFlo product

until August 2012.




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          G.     MSP Recovery’s Assignors were injured as a result of GranuFlo’s defect

          143.   MSP Recovery’s Assignors made payments on behalf of, or otherwise became

financially responsible for their Enrollees’ medical expenses, which were incurred as a result of

the defective GranuFlo product.

          144.   It is the custom and practice of CMS and primary plans to maintain records in a

detailed electronic format. According the U.S. Department of Health and Human Services (HHS),

CMS, federal statutes, and industry best practices and guidelines, the standard format for storing

digital health insurance claims data is an electronic data interchange (“EDI”) format called 837P

(“837”). 7

          145.   Essential components of an 837-claim file include but are not limited to the date(s)

of service, diagnosis code(s) and medical procedure code(s).

          146.   Using a proprietary software system designed and developed by MSP Recovery

(the “MSP System”), Plaintiffs can capture, compile, synthesize, and funnel large amounts of data

from different sources to identify instances where the Assignors incurred medical expenses

resulting from injuries caused by GranuFlo.

          147.   The MSP System uses ICD-9-CM or ICD-10-CM medical diagnosis codes and

DRG, ICD-9-PCS, ICD-10-PCS, HCPCS, or CPT procedure codes to identify and obtain

information regarding Enrollee claims, such as the type of injury suffered and the cause of the

injury.




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 Department of Health and Human Services, Centers for Medicare and Medicaid. Medicare
Billing: 837P and Form CMS 1500 (2016), https://www.cms.gov/Outreach-and-
Education/Medicare-Learning-Network-MLN/MLNProducts/Downloads/837P-CMS-1500.pdf.



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       148.    The MSP System creates algorithms based on National Provider Identifier (“NPI”)

codes, a unique 10-digit number issued by CMS to identify covered health care providers that

rendered medical items or services to Plaintiffs' Assignors' Enrollees. As outlined by the Federal

Code of Regulation, covered health care providers must also share their NPI code with other

providers, health plans, clearinghouses, and any entity that may need it for billing purposes. As a

result, the MSP System can identify Defendants in its claims data through the use of NPI codes.

       149.    Using claims data from its Assignors and data acquired from outside sources (e.g.,

CMS), the MSP System can also identify the amounts owed.

       150.    After analyzing claims data obtained from the Assignors using the MSP System,

MSP Recovery identified Enrollees for which the Assignors paid for treatments where a dialysis

patient suffered injuries relating to metabolic alkalosis. 8 [See Exhibit 1, Claims Data].

        H.      Fresenius faces thousands of GranuFlo lawsuits

       151.    As a result of Defendants’ acts in selling, marketing, and distributing a

dangerously defective product, Fresenius has been and/or is involved in a multitude of

lawsuits throughout the country.

       152.    Since the factual issues arising from allegations that the Fresenius plaintiffs

suffered injury or death caused by the administration GranuFlo during hemodialysis, over 2,127

claims involving the same factual questions and allegations were transferred to the United States

District Court, District of Massachusetts, and consolidated into a multi-district litigation case.




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  Additional claims may be identified throughout the course of this litigation, as through discovery,
Plaintiffs may identify Enrollees that suffered adverse effects due to the administration of
GranuFlo during hemodialysis that they were unable to identify at the time that this complaint was
filed.


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       153.    The lead Case Number is 13-md-02428, wherein this case was transferred, and the

cases have been assigned to the Honorable Judge Douglas P. Woodlock.

       154.    As a result of the ongoing multidistrict litigation involving Fresenius, a Master

Complaint and Demand for Jury Trial was filed on December 12, 2013 by the Plaintiffs’ Executive

Committee and the Plaintiffs’ Steering Committee with the intent to set forth the claims that

individual Plaintiffs and/or the estates and/or their heirs of deceased persons may assert against

the Defendants.

       155.    The Master Complaint alleged claims for: (1) strict liability; (2) negligent failure to

warn; (3) negligent design; (4) negligence; (5) negligent misrepresentation; (6) breach of implied

warranty of merchantability; (7) breach of implied warranty of fitness for a particular purpose; (8)

breach of express warranty; (9) fraud; (10) violation of consumer protection laws; (11) loss of

consortium; (12) wrongful death; and (13) survival action.

       156.    On or about 2016, Fresenius accepted a $250 million-dollar settlement for more

than 4,000 patients awaiting trial, which claimed that GranuFlo led to serious and deadly side

effects reached a with Fresenius. The settlement was made “in principle.”

       157.    On or about February 2019, the Kentucky Office of the Attorney General entered

into a $5 million-dollar settlement with Fresenius over allegations of Medicaid fraud. The

settlement resolves claims that Fresenius violated Medicaid guidelines by failing to warn Kentucky

dialysis clinics and doctors from 2003 through 2012 that GranuFlo could result in dangerously

increased bicarbonate levels.

       158.    Additionally, numerous class action lawsuits were filed against Defendants. Some

of these cases are delineated below:

     Brysten, Executrix of the Estate of Filmon Brysten v. Fresenius Medical Care
                  Holdings. Inc., et al., Case No. 13-cv-11828-DPW



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       159.    In 2013, a Civil Class Action Complaint was filed in Pennsylvania against

FMCNA, FUSA, Fresenius Marketing, and Fresenius Manufacturing. The class action complaint

was filed on behalf of Ms. Brysten and all her similarly situated individuals in Pennsylvania who

suffered personal injuries and/or wrongful death resulting from the use of NaturaLyte Liquid and

GranuFlo Acid Concentrates in dialysis treatment.

       160.    On July 5, 2013, Fresenius removed the proceedings to the United States District

Court for the Eastern District of Pennsylvania, Case No. 13-cv-11828-DPW, and alleged federal

jurisdiction was proper.

       161.    The proposed class in the complaint was defined as:

       “All patients in the State of Pennsylvania, including the heirs, beneficiaries, and
       next of kin of such patients, who received GranuFlo in dialysis treatment and
       suffered cardiopulmonary arrest, sudden cardiac death, or other adverse cardiac
       events.”

       162.    The complaint alleged claims for: (1) strict liability; (2) breach of implied warranty

of merchantability; (3) breach of implied warranty of fitness for a particular purpose; (4) negligent

failure to warn; (5) negligent design defect; (6) negligence; (7) negligent misrepresentation; (8)

breach of express warranty; (9) fraud; (10) wrongful death; and (11) fraudulent concealment.

       163.    On April 5, 2013, the action was transferred to MDL Case No. 2428-DPW.

       164.    On December 11, 2018, the action was dismissed, with prejudice.

        Rodriguez v. Fresenius USA, Inc., and DOES 1-50, Case No. BC519374

       165.    On August 23, 2013, a Class Action Complaint was filed before the Superior Court

of the State of California in the matter of Rodriguez v. Fresenius USA, Inc., and DOES 1-50,

Case No. BC519374.




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       166.    This class action was brought under the provisions of the California Code of Civil

Procedure § 382, whereby plaintiffs and the proposed class members were consumers who

underwent hemodialysis treatment, in the State of California, since January 2000, wherein the

product known as GranuFlo was used and paid for, in all or part, which Defendants designed,

labeled, packaged, researched, tested, manufactured, marketed, advertised, sold, promoted, and/or

distributed for use during hemodialysis.

       167.    The proposed class was defined as:

       All consumers who underwent hemodialysis treatment in the State of California
       wherein the product known as GranuFlo was used and paid for, in all or part, since
       January 2000. Excluded from the proposed class are Defendants; any entities in
       which any of the Defendants have a controlling interest; and the officers, directors,
       affiliates, attorneys, heirs, predecessors, and successors in interest, subsidiaries,
       employees, agents and/or assigns of any of the Defendants.

       168.    The complaint alleged claims for: (1) violation of California Consumer Legal

Remedies Act, Business and Professions Code 1750; (2) violation of California Unfair

Competition Law, Business and Professions Code Section 17200, et seq.; (3) violation of the

California False Advertising Law, Business and Professions Code Section 17500, et seq.; (4)

violation of the California Civil Code §§ 1709, 1710, 1711, Deceit by Concealment; and (5) unjust

enrichment

                       Berzas. v. Fresenius Medical Care Holdings, Inc.,
                       Case No. 13-cv-00529-SM-DEK (E.D. La. 2013).

       169.    On March 21, 2013, Allan Berzas et al. filed a Class Action Complaint against

Fresenius Medical Care Holdings, Inc., FMCNA, FUSA, Fresenius Manufacturing, Fresenius

Marketing, Fresenius Medical Care Ag & Co. KGAA, Fresenius Medical Care Management, Ag,

Fresenius Se & Co. KGAA, and Fresenius Management, SE.

       170.    The proposed class was defined as:




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        All consumers and third-party payors in the United States and its territories who,
        for purposes other than resale, purchased, reimbursed and/or paid for
        NATURALYTE and/or GRANUFLO from May 1, 2003 to present. For purposes
        of the Class definition, individuals and entities “purchased” NATURALYTE
        and/or GRANUFLO if they paid some or the entire purchase price.

       171.    Berzas seeks, among other things, all general and compensatory damages, all

special damages, all hedonic damages, and a refund of all monies acquired from the sale of

GranuFlo to the plaintiffs and the class.

       172.    Excluded from the Class are Defendants and any entity in which any Defendants

have a controlling interest, and their legal representatives, officers, directors, assignees, and

successors. Also excluded from the class is any judge or justice to whom this action is assigned,

together with any relative of such judge or justice within the third degree of relationship, and the

spouse of any such person.

       173.    The class action complaint alleged claims for: (1) Louisiana Products Liability Act;

(2) violations of Consumer Protections Statutes in 43 states; 9 (3) violations of warranty of

redhibition; and (4) unjust enrichment.

       174.    On April 10, 2013, the proceedings were conditionally transferred to this Court in

the matter of In Re: Fresenius GranuFlo/NaturaLyte Dialysate Products Liability Litigation, Case

MDL No. 2428. As a result of the transfer from the Eastern District of Louisiana, Case No. 13-

529 was transferred and opened under Case No. 13-10843.




9
 Count III of the Berzas complaint alleges that Fresenius engaged in unfair competition or unfair
or deceptive acts or practices in violation of consumer protection laws in the following states:
Arizona, Arkansas, California, Colorado, Connecticut, Delaware, District of Columbia, Florida,
Georgia, Hawaii, Idaho, Illinois, Indiana, Kentucky, Louisiana, Maine, Maryland, Massachusetts,
Michigan, Minnesota, Missouri, Nebraska, Nevada, New Hampshire, New Mexico, New York,
North Carolina, North Dakota, Ohio, Oklahoma, Oregon, Pennsylvania, Rhode Island, South
Dakota, Tennessee, Texas, Utah, Vermont, Virginia, Washington, West Virginia, Wisconsin, and
Wyoming.


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       175.    On March 18,2014, the following plaintiffs in the Berzas complaint filed Short-

Form Complaints: (1) Earmessa Moncriffe o/b/o Annie Moncriffe; (2) Robert Couch, Jr. o/b/o

June Couch; (3) Jacqueline Parrish o/b/o Julian Parrish, II; (4) George Shelling, Sr. o/b/o

Gwendolyn Durand Shelling; and (5) Angela D. Turner o/b/o Myles Turner, Jr.

       176.    On June 27, 2014, the claims of Allan Berzas and Christy Pigeon in the Berzas

complaint were dismissed as a result of a Stipulation of Dismissal. The claims of all other plaintiffs

in the Berzas Complaint were not dismissed as a result of the stipulation.

       177.    On October 22, 2016, this Court issued an Order, applicable to all cases in the

MDL, to establish a Qualified Settlement Find for GranuFlo settlement and resolution program,

and to appoint a QSF Administrator.

       178.    On April 11, 2017, Defendants filed an Omnibus Motion to Dismiss with prejudice

631 active cases in this multi-district litigation where the plaintiffs elected not to opt-in to the

global settlement and failed to comply with Case Management Order No. 17. One of the cases that

Defendants asked to dismiss was Berzas, Allan et al., Case No. 13-cv-10843.

       179.    The GranuFlo Settlement Fund was established as a Qualified Settlement Fund,

wherein Providio MediSolutions, LLC was appointed as Administrator of the Qualified Settlement

Fund and Trustee, wherein they were granted the authority to conduct any and all activities

necessary to administer the fund.

       180.    MSP Recovery falls within the class definition, as its Assignors are third-party

payors in the United States that paid some or the entire purchase price of GranuFlo.

       181.    To date, the class has not been certified.

       182.    Upon information and belief, the lawsuit remains open.

              IV.    STATUTE OF LIMITATION TOLLING ALLEGATIONS




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        183.    Plaintiffs assert all applicable state statutory and common law rights and theories

related to the tolling or extension of any applicable statute of limitations, including equitable

tolling and class action tolling.

        184.    Despite diligent investigation by Plaintiffs into the cause of their injuries, including

consultations with Plaintiffs’ medical providers, the nature of Plaintiffs’ injuries and damages, and

their relationship to the products was not discovered, and through reasonable care and due

diligence could not have been discovered, until a date within the applicable statute of limitations

for filing Plaintiffs’ claims.

        185.    Plaintiffs’ claims are tolled by the applicable statutes of limitations tolling

provisions, as held by the Supreme Court of the United States in American Pipe & Construction

Co. v. Utah, 414 U.S. 538 (1974).

        186.    The accrual and running of any applicable statute of limitations has been tolled

since March 21, 2013.

        187.    On March 21, 2013, Berzas, a putative class action was filed in the United States

District Court for the Eastern District of Louisiana against Fresenius Medical Care Holdings, Inc.,

FMCNA, FUSA, Fresenius Manufacturing, Fresenius Marketing, Fresenius Medical Care Ag &

Co. KGAA, Fresenius Medical Care Management, Ag, Fresenius Se & Co. KGAA, and Fresenius

Management, SE alleging that Fresenius negligently, recklessly, and/or willfully manufactured

GranuFlo and, subsequently, intentionally, recklessly, and/or negligently failed to advise and/or

warn dialysis patients, including the plaintiffs, decedents, their customers (i.e., treating physicians,

healthcare facilities, distributors), their suppliers, the government, other payers and/or the general

public of the serious consequences and risks of GranuFlo.




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       188.    The Berzas complaint alleged that the use of GranuFlo can result in dangerously

high bicarbonate levels that cause metabolic alkalosis—a significant risk associated with low

blood pressure, hypokalemia, hypoxemia, and cardiac arrhythmias.

       189.    The plaintiffs in Berzas sued on their own behalf, wherein they suffered injuries

and damages as a result of their exposure to GranuFlo, wherein the damages included heart attacks,

deaths, hypotension, myocardial infarction, and/or heart problems.

       190.    In addition, the plaintiffs in Berzas brought suit on behalf of a putative class defined

as: “[a]ll consumers and third-party payors in the United States and its territories who . . .

“purchased” NATURALYTE and/or GRANUFLO if they paid some or the entire purchase price.”

       191.    MSP Recovery’s claims fall within the class definition of the Berzas complaint, as

during all time periods relevant to this lawsuit, MSP Recovery’s Assignors were third-party payors

in the United States who purchased, were reimbursed, and/or paid for some or the entire purchase

price of GranuFlo on behalf of their Enrollees between May 1, 2003 and March 21, 2013, the date

Berzas was filed.

       192.    The Berzas complaint has not been certified, and upon information and belief, the

case remains open.

       193.    As a result, the running of the statute of limitations on MSP Recovery’s claims was

tolled from March 21, 2013 and the tolling has continued since that date. Prior to filing suit,

Plaintiffs and its Assignors could not have known of the ongoing litigation involving Berzas, and

would not have learned or known, through reasonable diligence, that the Assignors and/or

Enrollees were injured by the acts and omissions of Defendants. Instead of joining the class in

Berzas, Plaintiffs decided to file this instant lawsuit. The differences in the time the cases were




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filed does not cause the claims to be lost as a result of the statutory period; rather; the limitations

period is suspended.

                         V.      MSP RECOVERY SUES FRESENIUS

       194.    On September 6, 2018, MSP Recovery filed its Pure Bill of Discovery Complaint

against Defendants in the Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade

County, Florida in the matter of MSP Recovery Claims, Series, LLC, MSPA Claims 1, LLC, and

Series PMPI v. Fresenius Medical Care Holdings, Inc., Fresenius USA, Inc., Fresenius USA

Manufacturing Inc., Fresenius USA Marketing, Inc., and Fresenius USA Sales, Inc., Case No.

2018-030366-CA-01 (hereinafter “MSP Litigation”).

       195.    On September 11, 2018, MSP Recovery amended its complaint against

Defendants.

       196.    The Amended Complaint sought a pure bill of discovery under Florida law to

seek information from Defendants regarding “any and all registered users of the Defendants’

GranuFlo including but not limited to, [] information for each GranuFlo recipient [consisting of

their]: (1) Full Name; (2) Social Security Number (“SSN”); Health Insurance Claim Number

(“HICN”), or Medicare Beneficiary Identifier (“MBI”); (3) Date of Birth; and (4) Address. [D.E.

1-2]. Essentially, the complaint sought for Defendants to confirm the identity of the proper

defendant and the appropriate legal theory of relief. Id.

       197.    On October 16, 2018, Defendants removed the proceedings to the United States

District Court for the Southern District of Florida – Miami Division, MSP Recovery Claims,

Series, LLC, MSPA Claims 1, LLC, and Series PMPI v. Fresenius Medical Care Holdings, Inc.,

Fresenius USA, Inc., Fresenius USA Manufacturing Inc., Fresenius USA Marketing, Inc., and

Fresenius USA Sales, Inc., Case No. 2018-cv-12231-DPW.




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       198.    On October 25, 2018, the MSP Litigation was transferred to the United States

Judicial Panel on Multidistrict Litigation in the matter of In Re: Fresenius GranuFlo/Naturalyte

Dialysate Products Liability Litigation, MDL No. 2428 (U.S. Jud. Pan. Mult. Lit. 2013).

       199.    All the actions before this Court in MDL No. 2428 share common factual

questions arising out of allegations that plaintiffs suffered injury or death caused by the use of

GranuFlo products during hemodialysis, which allegedly may cause metabolic alkalosis in

patients resulting in low blood pressure, hypokalemia, hypoxemia, hypercapnia, cardiac

arrhythmia, or cardiopulmonary arrest. All the actions involve factual questions relating to

whether GranuFlo were defectively designed or manufactured, whether Fresenius, the

manufacturer of these dialysate products, knew or should have known of the alleged propensity

of these products to cause injury, and whether it provided adequate instructions and warnings

with these products. 10

       200.    On February 7, 2019, this Court held a Status Conference, wherein MSP

Recovery was ordered to amend its allegations to identify with specificity the individuals and

causes of action by March 11, 2018. This amendment follows.

                                  VI.    CAUSES OF ACTION

                                          COUNT ONE
                                           Negligence

       246.    Plaintiffs reallege and incorporate by reference the foregoing paragraphs in the

complaint as though fully set forth herein.




10
  See In re: Fresenius Granuflo/Naturalyte Dialysate Prod. Liab. Litig., 935 F. Supp. 2d 1362,
(Mem) – 1363 (U.S. Jud. Pan. Mult. Lit. 2013).


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       247.    Defendants had a duty to exercise reasonable care in the manufacture, labeling,

marketing, sale, packaging and distribution of GranuFlo including a duty to assure that it did not

cause unreasonable, dangerous side-effects to users.

       248.    Defendants had a duty to exercise reasonable care in providing sufficient

information to treating nephrologists and clinics so that they would be aware of, at minimum, (i)

the use of GranuFlo; (ii) its dangers; (iii) the amount of acetate in GranuFlo; (iv) the rate at

which ESRD patients’ metabolize acetate into bicarbonate; and (v) the amount of acetate

anticipated to remain in a patient’s blood post-dialysis.

       249.    Defendants failed to exercise ordinary care in carrying out these duties.

       250.    Defendants, thereby, breached their duties.

       251.    Defendants were negligent in the design, manufacture, advertising, warning,

marketing, packaging, and sale of GranuFlo in that, among other things, they:

           a. failed to use due care in designing and manufacturing GranuFlo so as to avoid the

               aforementioned risks to individuals;

           b. failed to accompany GranuFlo with proper and adequate warnings regarding all

               possible adverse side-effects associated with its use, dosing instructions and the

               comparative severity and duration of such adverse effects, including but not

               limited to serious CP Arrest, sudden cardiac death, and other adverse cardiac

               events. The warnings given did not accurately reflect the symptoms, scope, or

               severity of the side effects;

           c. failed to provide adequate training and instruction to medical providers for the

               appropriate use of GranuFlo;

           d. placed unsafe products into the stream of commerce; and




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           e. were, otherwise, careless or negligent.

       252.   Despite the fact that Defendants knew or should have known that GranuFlo

caused unreasonable, dangerous side-effects which many users would be unable to remedy by

any means, Defendants continued to market GranuFlo to patients, including the medical

community and Enrollees.

       253.   Evidence suggests that Defendants were aware of the dangerous propensity of its

products for years, and possibly decades.

       254.   Defendants’ negligence, including the wrongful acts and omissions of its agents,

servants, and/or employees, includes:

           a. marketing, selling, distributing, and/or advertising GranuFlo without adequately or

              thoroughly testing to determine whether and under what conditions it was safe for

              use despite knowing the significant dangers it could pose to dialysis patients;

           b. failing to provide adequate instructions and training regarding the safety

              precautions and procedures to be observed in the administration and use of

              GranuFlo;

           c. failing to adequately and accurately warn Enrollees in Fresenius clinics of the risks

              and dangers of GranuFlo;

           d. constructively representing that GranuFlo was safe for use in dialysis treatment as

              intended, when in fact, it was not;

           e. failing to communicate the dangers and risks associated with the use of GranuFlo

              to Enrollees and Assignors;




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           f. concealing, misrepresenting, or failing to reveal information to Enrollees

                  suggesting that GranuFlo was unsafe, dangerous, and/or did not conform to FDA

                  regulations, or even when GranuFlo would be used;

           g. concealing, misrepresenting, or failing to reveal information to Enrollees,

                  suggesting that GranuFlo presented more severe risks and dangers than other acid

                  concentrates used in dialysis;

           h. providing GranuFlo not in accordance with the prescription of the treating

                  physicians;

           i. introducing new products without adequate testing, evaluation and risk assessment;

           j. failing to conduct pre-dialysis bicarbonate testing frequently enough to detect

                  GranuFlo induced metabolic alkalosis;

           k. failing to conduct post-dialysis bicarbonate testing to detect GranuFlo induced

                  metabolic alkalosis;

           l. using GranuFlo in place of safer alternative acid concentrates; and

           m. failing to communicate to Enrollees’ nephrologist complete information regarding

                  the dangers of GranuFlo.

       255.       Despite the fact that Defendants knew or should have known that GranuFlo

caused unreasonably dangerous side effects, including, but not limited to, cardiac arrest, stroke

and even death among other serious conditions, Defendants continued to design, test,

manufacture, label, advertise, market, promote, sell, and distribute GranuFlo.

       256.       Defendants’ negligence was the proximate cause of the injuries and damages

alleged herein.

       257.       Defendants’ conduct, as described above, was extreme and outrageous.




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       258.    Defendants risked the lives of the patients and users of their products with

knowledge of the safety problems and suppressed this knowledge from the general public

through their marketing and advertising, as well as other means. Defendants made conscious

decisions not to redesign, re-label, warn or inform the unsuspecting consuming public.

Defendants’ outrageous conduct was wanton and willful.

                                        COUNT TWO
                                       Unjust Enrichment

       259.    Plaintiffs reallege and incorporate by reference the foregoing paragraphs in the

complaint as though fully set forth herein.

       260.    Defendants received benefits from Plaintiffs’ Assignors who made payments on

behalf of, or otherwise became financially responsible for, their Enrollees’ medical expenses

incurred as a result of the administration of Defendants’ defective GranuFlo product.

       261.    By engaging in the conduct set forth above, Plaintiffs’ Assignors were forced to

make payments on behalf of Enrollees for the medical treatment and services related to the heart

attacks, strokes, and other adverse health consequences caused by GranuFlo.

       262.    Defendants voluntarily accepted and retained these payments with full knowledge

and awareness that, as a result of its wrongdoing, the Assignors paid for GranuFlo when they

otherwise would not have done so but for Defendants’ wrongful conduct.

       263.    Defendants continue to retain those benefits to the detriment of Plaintiffs, the

Assignors, and the Enrollees.

       264.    Their enrichment is as a result of their deceptive acts and omissions, which has

allowed them to gain millions of dollars in profits that would not have been gained but for

Defendants’ acts.

       265.    Defendants are aware of their receipt of those benefits.



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       266.    In equity and fairness, it is Defendants who should bear the costs of the medical

expenses occasioned by the Defendants’ irresponsible marketing, promotion, manufacturing, and

use of GranuFlo.

       267.    By engaging in the conduct set forth above, MSP Recovery is entitled to recover its

damages in an amount to be proved at trial.

                                        COUNT THREE
                                         Strict Liability

       268.    Plaintiffs reallege and incorporate by reference the foregoing paragraphs in the

complaint as though fully set forth herein.

       269.    At the time the Assignors paid for Enrollees’ injuries, Defendants’ GranuFlo

product was defective and unreasonably dangerous to foreseeable patients.

       270.    The GranuFlo that was employed during the dialysis treatment received by the

Enrollees was in the same, or substantially similar, condition as it was when it left Defendants’

possession.

       271.    The GranuFlo was not misused or materially altered when GranuFlo was

administered during their dialysis treatment.

       272.    Defendants are strictly liable for the injuries suffered by the Enrollees and/or

Assignors in that Defendants:

           a. designed, manufactured, distributed, packaged, manufactured, sold, advertised,

               marketed, and supplied GranuFlo, which was defectively designed and placed into

               the stream of commerce in a defective and unreasonably dangerous condition;

           b. failed to properly market, design, manufacture, distribute, supply, package, and

               sell GranuFlo;

           c. failed to warn and place adequate instructions and warnings on GranuFlo;



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           d. failed to adequately test GranuFlo;

           e. failed to provide timely and adequate warnings and instructions after they knew of

               the risk of injury associated with the use of GranuFlo prior to the injuries suffered

               by the Enrollees and, subsequently, the Assignors; and

           f. failed to market a feasible alternative design for the subject GranuFlo that would

               have prevented the injuries.

       273.    Defendants’ actions and omissions were the direct and proximate cause of the

injuries suffered by the Enrollees and, subsequently, the Assignors.

       274.    Defendants’ conduct, as described herein, was extreme and outrageous.

       275.    Defendants risked the lives of the patients and users of their products with

knowledge of the safety problems and suppressed this knowledge from the general public

through their marketing and advertising, as well as other means.

       276.    Defendants made conscious decisions not to redesign, re-label, warn or inform the

unsuspecting consuming public. Defendants’ outrageous conduct was wanton and willful, which

warrants an award of punitive damages.

                                       COUNT FOUR
                        Breach of Implied Warranty of Merchantability

       277.    Plaintiffs reallege and incorporate by reference the foregoing paragraphs in the

complaint as though fully set forth herein.

       278.    At all relevant times herein, Defendants marketed, distributed, and sold GranuFlo

to the Enrollees and Assignors, wherein they warranted that GranuFlo was merchantable and fit

for the ordinary purposes for which it was intended.

       279.    Patients, including the Enrollees, were intended direct or third-party beneficiaries

of the warranty.



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       280.    GranuFlo was not merchantable and fit for its ordinary purpose because it had an

unacceptable propensity to lead to the serious injuries as described herein.

       281.    The Enrollees and Assignors reasonably relied on Defendants’ representations that

GranuFlo was safe and free of defects.

       282.    Defendants’ breach of the implied warranty of merchantability was the direct and

proximate cause of the Enrollees’ and Assignors’ injuries.

       283.    Defendants’ conduct, as described above, was extreme and outrageous.

       284.    Defendants risked the lives of the patients and users of their products with

knowledge of the safety problems and suppressed this knowledge from the general public through

their marketing and advertising, as well as other means. Defendants made conscious decisions not

to redesign, re-label, warn or inform the unsuspecting consuming public. Defendants’ outrageous

conduct was wanton and willful.

                                        COUNT FIVE
                         Breach of Implied Warranty of Merchantability

       285.    Plaintiffs reallege and incorporate by reference the foregoing paragraphs in the

complaint as though fully set forth herein.

       286.    Defendants manufactured, marketed, supplied, and sold GranuFlo with an implied

warranty that it was fit for the particular purpose of being a safe dialysis chemical.

       287.    Patients, including the Enrollees, were the intended direct or third-party

beneficiaries of the warranty.

       288.    GranuFlo was not fit for the particular purpose of being a safe dialysis chemical

since it presents a serious risk of personal injury, which risk is much higher than other dialysis

chemicals.




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       289.    The Enrollees reasonably relied on Defendants’ representations that GranuFlo was

safe and effective for dialysis.

       290.    Defendants’ breach of the implied warranty of fitness for a particular purpose was

the direct and proximate cause of the Enrollees’ injuries.

       291.    Defendants’ conduct, as described above, was extreme and outrageous.

       292.    Defendants risked the lives of the patients and users of their products with

knowledge of the safety problems and suppressed this knowledge from the general public through

their marketing and advertising, as well as other means. Defendants made conscious decisions not

to redesign, re-label, warn or inform the unsuspecting consuming public. Defendants’ outrageous

conduct was wanton and willful.

                                         COUNT SIX
                                   Negligent Failure to Warn

       293.    Plaintiffs reallege and incorporate by reference the foregoing paragraphs in the

complaint as though fully set forth herein.

       294.    Before the Enrollees used GranuFlo, and during the period that Enrollees used

GranuFlo, Defendants knew or had reason to know that GranuFlo was dangerous and created an

unreasonable risk of bodily harm to patients.

       295.    Defendants had a duty to exercise reasonable care to warn patients, including

Enrollees, of the dangerous conditions and circumstances that could lead to serious injury or death

from using GranuFlo.

       296.    Despite the fact that Defendants knew or had reason to know that GranuFlo was

dangerous, Defendants failed to exercise reasonable care in warning the medical community, the

public, and patients, such as Enrollees, of the dangerous conditions, circumstances and facts that

could lead to serious injury or death from using GranuFlo.



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       297.    Enrollees’ injuries were the direct and proximate result of Defendants’ failure to

warn of the dangers of GranuFlo.

       298.    Defendants’ conduct, as described above, was extreme and outrageous.

       299.    Defendants risked the lives of the patients and users of their products with

knowledge of the safety problems and suppressed this knowledge from the general public through

their marketing and advertising, as well as other means. Defendants made conscious decisions not

to redesign, re-label, warn or inform the unsuspecting consuming public. Defendants’ outrageous

conduct was wanton and willful.

                                        COUNT SEVEN
                                     Negligent Design Defect

       300.    Plaintiffs reallege and incorporate by reference the foregoing paragraphs in the

complaint as though fully set forth herein.

       301.    Defendants are the manufacturers, sellers, distributors, marketers, and suppliers of

GranuFlo, which was negligently designed.

       302.    Defendants failed to exercise reasonable care in designing, developing,

formulating, manufacturing, inspecting, testing, packaging, selling, distributing, labeling,

marketing, and promoting GranuFlo, which is defective and presented an unreasonable risk of

harm to patients, including Enrollees.

       303.    As a result, GranuFlo contains defects in design, which renders it dangerous to

patients, including Enrollees, when used as intended or as reasonably foreseeable to Defendants.

The design defects render GranuFlo more dangerous than other dialysis chemicals, and cause an

unreasonable increased risk of injury, including but not limited to CP Arrest, sudden cardiac death,

and other adverse cardiac events.




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       304.    Enrollees used GranuFlo in a reasonably foreseeable manner, and substantially as

intended by Defendants.

       305.    The subject GranuFlo was not materially altered or modified after manufacture by

Defendants, and before used by Enrollees.

       306.    The design defects directly rendered the subject GranuFlo defective and were the

direct and proximate result of Defendants’ negligent and failure to use reasonable care in

designing, testing, and manufacturing GranuFlo.

       307.    As a direct and proximate result of Defendants’ negligent design of GranuFlo,

Enrollees were injured and suffered injuries.

       308.    Despite the fact that Defendants knew or should have known that GranuFlo was

defectively designed, contained design defects, and caused an unreasonable risk of harm,

Defendants designed, manufactured, sold, distributed, and marketed GranuFlo to patients,

including the medical community and Enrollees, and failed to warn patients, the medical

community, and Enrollees of the increased risk of harm relative to other dialysis chemicals.

       309.    Defendants’ conduct, as described above, was extreme and outrageous.

       310.    Defendants risked the lives of the patients and users of their products with

knowledge of the safety problems and suppressed this knowledge from the general public through

their marketing and advertising, as well as other means. Defendants made conscious decisions not

to redesign, re-label, warn or inform the unsuspecting consuming public. Defendants’ outrageous

conduct was wanton and willful.

                                       COUNT EIGHT
                                  Negligent Misrepresentation

       311.    Plaintiffs reallege and incorporate by reference the foregoing paragraphs in the

complaint as though fully set forth herein.



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       312.    Prior to Enrollees’ first dose of GranuFlo and during the period in which Enrollees

used GranuFlo, Defendants misrepresented the degree to which GranuFlo was a safe and effective

means for dialysis.

       313.    Defendants also failed to disclose material facts regarding the safety and efficacy

of GranuFlo, including information regarding increased adverse events and harmful side-effects.

       314.    Defendants had a duty to provide Enrollees, physicians, and other patients with true

and accurate information and warnings of any known risks and side-effects associated with the

GranuFlo products they marketed, distributed, and sold.

       315.    Defendants knew or should have known, based on prior experience, adverse event

reports, studies, and knowledge of the efficacy and safety failures associated with GranuFlo that

their representations regarding these drugs were false, and that they had a duty to disclose the

dangers of GranuFlo.

       316.    Defendants made the representations, and otherwise failed to disclose material facts

concerning GranuFlo with the intent to induce patients, including Enrollees, to act in reliance

thereon in receiving and/or using GranuFlo in dialysis treatment.

       317.    Enrollees justifiably relied on Defendants’ representations and non-disclosures by

choosing to receive and/or use GranuFlo in dialysis treatment.

       318.    Defendants’ misrepresentations and omissions regarding the safety and efficacy of

GranuFlo were the direct and proximate cause of Enrollees’ injuries.

       319.    Defendants’ conduct, as described herein, was extreme and outrageous.

       320.    Defendants risked the lives of the patients and users of their products with

knowledge of the safety problems and suppressed this knowledge from the general public through

their marketing and advertising, as well as other means. Defendants made conscious decisions not




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to redesign, re-label, warn or inform the unsuspecting consuming public. Defendants’ outrageous

conduct was wanton and willful.

                                         COUNT NINE
                                   Breach of Express Warranty

       321.    Plaintiffs reallege and incorporate by reference the foregoing paragraphs in the

complaint as though fully set forth herein.

       322.    Defendants expressly warranted that GranuFlo was safe and effective to members

of the consuming public, including Enrollees.

       323.    Members of the consuming public, including patients such as Enrollees, were

intended direct or third-party beneficiaries of the warranty.

       324.    Defendants marketed, promoted, advertised, and sold GranuFlo as a safe product.

       325.    GranuFlo does not conform to these express representations because it is not safe,

and has serious side-effects, including serious personal injuries.

       326.    Defendants breached their express warranty in one or more of the following ways:

           a. GranuFlo as designed, manufactured, promoted, distributed, marketed, sold and/or

               supplied by Defendants was defectively designed and placed in the stream of

               commerce by Defendants in a defective and unreasonably dangerous condition;

           b. Defendants failed to warn and/or place adequate warnings, labels, and instructions

               on GranuFlo;

           c. Defendants failed to adequately test GranuFlo; and

           d. Defendants failed to provide timely and adequate post-marketing warnings and

               instructions after they knew the risk of injury from GranuFlo.




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       327.     The Assignors and/or Enrollees reasonably relied upon Defendants’ warranty that

GranuFlo was safe and effective when they paid for, received and/or used GranuFlo in dialysis

treatment.

       328.     Enrollees’ injuries were the direct and proximate result of Defendants’ breach of

their express warranty.

       329.     Defendants’ conduct, as described herein, was extreme and outrageous.

       330.     Defendants risked the lives of the patients and users of their products with

knowledge of the safety problems and suppressed this knowledge from the general public through

their marketing and advertising, as well as other means. Defendants made conscious decisions not

to redesign, re-label, warn or inform the unsuspecting consuming public. Defendants’ outrageous

conduct was wanton and willful.

                                           COUNT TEN
                              Violation of Consumer Protection laws

       331.     Plaintiffs reallege and incorporate by reference the foregoing paragraphs in the

complaint as though fully set forth herein.

       332.     Enrollees were administered GranuFlo during dialysis primarily for personal use

and, thereby, suffered ascertainable losses as a result of Defendants’ actions in violation of

consumer protection laws.

       333.     Unfair methods of competition or deceptive acts or practices that were prescribed

by law, include the following:

             a. representing that goods or services have characteristics, ingredients, user benefits,

                or quantified that they do not have;

             b. advertising goods or services with the intent not to sell them as advertised;




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            c. over-promotion of the GranuFlo products, including but not limited to over-

               promotion of its safety and efficacy; and

            d. engaging in fraudulent or deceptive conduct that creates a likelihood of confusion

               or misunderstanding.

        334.   Defendants violated consumer protection laws through their use of false and

misleading misrepresentations or omissions of material fact relating to the safety of GranuFlo.

        335.   Defendants uniformly communicated the purported benefits of GranuFlo while

failing to disclose the serious and dangerous side-effects related to the use of GranuFlo and of the

true state of GranuFlo's regulatory status, its safety, its efficacy, and its usefulness. Defendants

made these representations to physicians, the medical community at large, and to patients and

consumers such as Plaintiffs in the marketing and advertising campaign described herein.

Defendants' conduct in connection with GranuFlo was also impermissible and illegal in that it

created a likelihood of confusion and misunderstanding, because Defendants misleadingly, falsely

and or deceptively misrepresented and omitted numerous material facts regarding, among other

things, the utility, benefits, costs, safety, efficacy and advantages of GranuFlo.

        336.   Plaintiffs bring claims on behalf of violations for the following consumer protection

statutes:

            a. Connecticut – Conn. Gen. Stat. § 42-110b(a)

            b. Massachusetts -- Mass. Gen. Laws Ann. 93A §§1-11 et. seq.

            c. New York – N.Y. Gen. Bus. Law §§ 349 and 350

                                 a. Conn. Gen. Stat. § 42-110 et. seq.

        341.   Defendants are engaged in “trade or commerce” within the meaning of Conn. Gen.

Stat. § 42-110a, during all relevant periods by, at a minimum, advertising, offering for sale, and




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selling the affected products described herein in Connecticut, to Plaintiffs’ Assignors and/or their

Enrollees and throughout the United States.

        342.   Connecticut Unfair Trade Practices (“CUTP”) prohibits “unfair methods of

competition and unfair or deceptive acts or practices in the conduct of any trade or commerce.

        343.   As detailed above, in the course of their business, Defendants engaged in unfair,

unconscionable and deceptive acts or practices in violation of the above noted provisions by selling

products it knew or should have known were unsafe and by failing to disclose to Plaintiffs

Assignors’ and/or its Enrollees regarding the true nature of the products.

        344.   Defendants owed and continue to owe Plaintiffs, their Assignors, and/or their

Enrollees a duty to refrain from the above-described unfair and deceptive practices and disclose

the true nature of the Defendant’s products and actions complained of herein.

        345.   Defendants knew or should have known that their conduct was in violation of

CUTP.

        346.   Despite knowing the true nature of their products and practices for years,

Defendants intentionally and/or knowingly omitted and/or misrepresented material facts regarding

the Granuflo and/or Naturalyte products, with the intent to mislead regulators, Plaintiffs’ Assignors

and/or their Enrollees and continued to engage in unfair and deceptive practices in violation of

CUTP.

        347.   Defendants’     unfair   and   deceptive    acts   or   practices,   omissions    and

misrepresentations were material to Plaintiffs’ Assignors and were likely to and/or did, in fact,

deceive regulators, medical professionals, and reasonable consumers, including Plaintiffs’

Assignors.




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        348.       Defendants’ material misrepresentations proximately caused Plaintiffs’ Assignors

to pay for the affected products when they otherwise would not have paid for the products.

        349.       Plaintiffs suffered injury-in-fact, ascertainable loss and actual damages as a direct

and proximate result of Defendants’ unfair and deceptive practices and omissions and/or

misrepresentations, at a minimum, in the form of providing payment for the defective Granuflo

products described herein, further, Plaintiffs’ Assignors were injured by way of paying for

procedures and/or supplies they would not have had Defendants’ products not been defective.

        350.       Defendants’ violations present a continuing risk to Plaintiffs as well as to the

general public. As such, Defendants’ unlawful acts and practices complained of herein affect the

public interest.

        351.       Plaintiffs are entitled to recover their actual damages and attorneys’ fees under

Conn. Gen. Stat. § 42-110g.

        352.       Plaintiffs also seek an order enjoining Defendants’ unfair, unlawful, and/or

deceptive practices, declaratory relief, attorneys’ fees, and any other just and proper relief available

under CUPT.

                                     b. Mass. Gen. Laws. Ann. 93A

        353.       Defendants are engaged in “trade or commerce” within the meaning of Mass. Gen.

Laws ch. 93A, § 1(b) during all relevant periods by, at a minimum, advertising, offering for sale,

and selling the affected products described herein in Massachusetts, to Plaintiffs’ Assignors and/or

their Enrollees and throughout the United States.

        354.       Massachusetts Consumer Protection Act (“MCPA”) prohibits “[u]nfair methods of

competition and unfair or deceptive acts or practices in the conduct of any trade or commerce are

hereby declared unlawful.” Mass. Gen. Laws ch. 93A, § 2(a).




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       355.    As detailed above, in the course of their business, Defendants engaged in unfair,

unconscionable and deceptive acts or practices in violation of the above-noted provisions of

MCPA by selling products it knew or should have known were unsafe and by failing to disclose

to Plaintiffs Assignors’ and/or its Enrollees regarding the true nature of the products.

       356.    Defendants owed and continue to owe Plaintiffs’, their Assignors, and/or their

Enrollees a duty to refrain from the above-described unfair and deceptive practices and disclose

the true nature of the Defendant’s products and actions complained of herein.

       357.    Defendants knew or should have known that their conduct was in violation of

MCPA.

       358.    Despite knowing the true nature of their products and practices for years,

Defendants intentionally and/or knowingly omitted and/or misrepresented material facts regarding

the GranuFlo products, with the intent to mislead regulators, Plaintiffs’ Assignors and/or their

Enrollees and continued to engage in unfair and deceptive practices in violation of MCPA.

       359.    Defendants’     unfair   and   deceptive    acts   or   practices,   omissions   and

misrepresentations were material to Plaintiffs’ Assignors and were likely to and/or did, in fact,

deceive regulators and reasonable consumers, including Plaintiffs’ Assignors.

       360.    Defendants’ material misrepresentations proximately caused Plaintiffs’ Assignors

to pay for the defective Granuflo when they otherwise would not have paid for the products.

       361.    Plaintiffs suffered injury-in-fact, ascertainable loss and actual damages as a direct

and proximate result of Defendants’ unfair and deceptive practices and omissions and/or

misrepresentations, at a minimum, in the form of providing payment for the defective Granuflo

products described herein, further, Plaintiffs’ Assignors were injured by way of paying for

procedures and/or supplies they would not have had Defendants’ products not been defective.




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        362.       Defendants’ violations present a continuing risk to Plaintiffs as well as to the

general public. As such, Defendants’ unlawful acts and practices complained of herein affect the

public interest.

        363.       Plaintiffs are entitled to recover their actual damages and attorneys’ fees under

Mass. Gen. Laws Ch. 93A, § 9(3A).

        364.       Plaintiffs also seek an order enjoining Defendants’ unfair, unlawful, and/or

deceptive practices, declaratory relief, attorneys’ fees, and any other just and proper relief available

under the MCPA.

                                     c. N.Y. Gen. Bus. Law § 349

        365.       Defendants are and were engaged in “trade or commerce” within the meaning of

N.Y. Gen. Bus. Law § 349 during all relevant periods by, at a minimum, advertising, offering for

sale, and selling the affected products described herein in New York to Plaintiffs’ Assignors and/or

their Enrollees and throughout the United States.

        366.       N.Y. Gen. Bus. Law § 349 prohibits “deceptive acts or practices in the conduct of

any business, trade or commerce or in the furnishing of any service…”

        367.       As detailed above, in the course of their business, Defendants engaged in unfair,

unconscionable and deceptive acts or practices in violation of the above-noted provisions of N.Y.

Gen. Bus. Law § 349 by selling products it knew or should have known were unsafe and by failing

to disclose to Plaintiffs Assignors’ and/or its Enrollees regarding the true nature of the products.

        368.       Defendants owed and continue to owe Plaintiffs’, their Assignors, and/or their

Enrollees a duty to refrain from the above-described unfair and deceptive practices and disclose

the tur nature of the Defendant’s products and actions complained of herein.




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        369.       Defendants knew or should have known that their conduct was in violation of N.Y.

Gen. Bus. Law § 349.

        370.       Despite knowing the true nature of their products and practices for years,

Defendants intentionally and/or knowingly omitted and/or misrepresented material facts regarding

the GranuFlo products, with the intent to mislead regulators, Plaintiffs’ Assignors and/or their

Enrollees, and continued to engage in unfair and deceptive practices in violation of N.Y. Gen. Bus.

Law § 349.

        371.       Defendants’    unfair   and   deceptive    acts   or   practices,   omissions    and

misrepresentations were material to Plaintiffs’ Assignors and were likely to and/or did, in fact,

deceive regulators, medical professionals and reasonable consumers, including Plaintiffs’

Assignors.

        372.       Defendants’ material misrepresentations proximately caused Plaintiffs’ Assignors

to pay for the affected products when they otherwise would not have paid for the products.

        373.       Plaintiffs suffered injury-in-fact, ascertainable loss and actual damages as a direct

and proximate result of Defendants’ unfair and deceptive practices and omissions and/or

misrepresentations, at a minimum, in the form of providing payment for the defective Granuflo

and/or Naturalyte products described herein, further, Plaintiffs’ Assignors were injured by way of

paying for procedures and/or supplies they would not have had Defendants’ products not been

defective.

        374.       Defendants’ violations present a continuing risk to Plaintiffs as well as to the

general public. As such, Defendants’ unlawful acts and practices complained of herein affect the

public interest.




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        375.    Plaintiffs are entitled to recover their actual damages and attorneys’ fees under N.Y.

Gen. Bus. Law § 349(h).

        376.    Plaintiffs also seek an order enjoining Defendants’ unfair, unlawful, and or

deceptive practices, declaratory relief, attorneys’ fees, and any other just and proper relief available

under N.Y. Gen. Bus. Law § 349.

        377.    As a result of these violations of consumer protection laws, Plaintiffs have incurred

serious physical injury, pain, suffering, loss of income, loss of opportunity, loss of family and

social relationships, and medical, hospital and surgical expenses and other expense related to the

diagnosis and treatment thereof, for which Defendants are liable.

                                    COUNT ELEVEN
                Breach of Implied Warranty of Fitness for a Particular Purpose

        378.    Plaintiffs reallege and incorporate by reference the foregoing paragraphs in the

complaint as though fully set forth herein.

        379.    Defendants manufactured, marketed, supplied, and sold GranuFlo with an implied

warranty that it was fit for the particular purpose of being a safe dialysis chemical.

        380.    Patients, including Enrollees, were the intended direct or third-party beneficiaries

of the warranty.

        381.    GranuFlo was not fit for the particular purpose of being a safe dialysis chemical

since it presents a serious risk of personal injury, which risk is much higher than other dialysis

chemicals.

        382.    Enrollees reasonably relied on Defendants' representations that GranuFlo was safe

and effective for dialysis.

        383.    Defendants' breach of the implied warranty of fitness for a particular purpose was

the direct and proximate cause of Enrollees' injuries.



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       384.    Defendants' conduct, as described above, was extreme and outrageous. Defendants

risked the lives of the patients and users of their products with knowledge of the safety problems

and suppressed this knowledge from the general public through their marketing and advertising,

as well as other means. Defendants made conscious decisions not to redesign, re-label, warn or

inform the unsuspecting consuming public. Defendants' outrageous conduct, which was wanton

and willful, warrants an award of punitive damages.

                                       COUNT TWELVE
                                           Fraud

       385.    Plaintiffs reallege and incorporate by reference the foregoing paragraphs in the

complaint as though fully set forth herein.

       386.    Prior to the Enrollees’ use of GranuFlo and during the period in which Enrollees

used GranuFlo, Defendants fraudulently suppressed material information regarding the safety and

efficacy of these chemicals, including information regarding serious personal injuries and death.

Furthermore, Defendants fraudulently concealed the safety information about the use of GranuFlo.

As described above, GranuFlo has several well-known serious side-effects that are not seen in

other forms of dialysis chemicals. Plaintiffs, and the Assignors believe the fraudulent

misrepresentations described herein were intended to maintain and increase the sales volume of

GranuFlo.

       387.    Defendants fraudulently concealed the safety issues associated with GranuFlo in

order to induce physicians to recommend its use to Enrollees.

       388.    At the time Defendants concealed the facts that GranuFlo were not safe, Defendants

were under a duty to communicate this information to Plaintiffs, Enrollees, Assignors, physicians,

the FDA, the medical community, and the general public in such a manner so that each group could

appreciate the risks associated with using GranuFlo.



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        389.    Defendants, at all times relevant hereto, withheld information from the FDA that

they were required to report.

        390.    Plaintiffs’ Assignors and prescribing physicians relied upon the Defendants'

outrageous untruths regarding the safety of GranuFlo.

        391.    Plaintiffs’ Assignors, and/or their Enrollees and/or their physicians were not

provided with the necessary information by Defendants.

        392.    GranuFlo was improperly marketed to Plaintiffs and/or their physicians as the

Defendants did not provide proper instructions about how to GranuFlo and did not adequately

warn about GranuFlo's risks.

        393.    As a direct and proximate result of Defendants' malicious and intentional

concealment of material life-altering information from Enrollees and/or Enrollees’ physicians,

Defendants caused or contributed to Plaintiffs' injuries.

        394.    It is unconscionable and outrageous that Defendants would risk the lives of patients,

including Plaintiffs. Nevertheless, Defendants made conscious decisions not to redesign, label,

warn or inform the unsuspecting consuming public about the dangers associated with the use of

GranuFlo. Defendants' outrageous conduct, which was wanton and willful, rises to the level

necessary that Plaintiffs should be awarded punitive damages to deter Defendants from this type

of outrageous conduct in the future and to discourage Defendants from placing profits above the

safety of patients in the United States of America.

        395.    Defendants widely advertised and promoted GranuFlo as safe and effective and/or

as safe and effective for dialysis.

        396.    Defendants had a duty to disclose material information about serious side-effects

to patients such as Enrollees.




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       397.    Additionally, by virtue of Defendants' partial disclosures about these medications,

which Defendants touted GranuFlo as a safe and effective product, Defendants had a duty to

disclose all facts about the risks associated with use of GranuFlo, including the risks described in

this complaint. Defendants intentionally failed to fully disclose this information for the purpose of

inducing physicians to prescribe and patients, such as Plaintiffs, to receive and/or use GranuFlo in

dialysis treatment.

       398.    Had Enrollees been aware of the hazards associated with GranuFlo, Plaintiffs

would not have used GranuFlo, which led proximately to Plaintiffs' injuries.

       399.    Defendants' advertisements regarding GranuFlo made material misrepresentations

to the effect that GranuFlo were entirely safe, misrepresentations Defendants knew to be false, for

the purpose of fraudulently inducing physicians to prescribe, patients, such as Enrollees to be

administered, and insurers such as Assignors to pay for GranuFlo in dialysis treatment. Enrollees

and Assignors relied on these material misrepresentations when deciding to be administered and/or

pay for GranuFlo in dialysis treatment.

       400.    Upon information and belief, the Assignors aver that Defendants actively and

fraudulently concealed information in Defendants' exclusive possession regarding the hazards

associated with GranuFlo with the purpose of preventing physicians, patients, and insurers,

including the Assignors and their Enrollees, from discovering these hazards.

                                    JURY TRIAL DEMAND

       401.    Plaintiffs, through undersigned counsel, demand a trial by jury on all issues triable.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them,

individually, jointly and severally and requests compensatory damages, punitive damages,




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together with interest, cost of suit, attorneys’ fees, and all such other relief as the Court deems just

and proper.

DATED: March 11, 2019.                                 THE FERRARO LAW FIRM, P.A.
                                                        Attorneys for Plaintiffs
                                                        600 Brickell Avenue, Suite 3800
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                                                         /s/ David Jagolinzer
                                                         DAVID A. JAGOLINZER, ESQ. BBO
                                                         No.: 643971



                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing document filed

through the ECF system will be sent electronically to the registered participants as identified on

the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-

registered participants, this 11th day of March, 2019.

                                                         /s/ David Jagolinzer
                                                         DAVID A. JAGOLINZER, ESQ. BBO
                                                         No.: 643971


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                                          APPENDIX

Plaintiff MSPRC’s Standing

A1.    On December 15, 2015, Alianza Profesional de Cuidado Medico Inc. (“APCM”)

irrevocably assigned all its rights and claims to recover against any liable entity (including

defendants) for payments made on behalf of their enrollees under Medicare Parts A, B, and D to

MSP Recovery 15-627, LLC. Specifically, the APCM Assignment, attached as Composite Exhibit

G, states the following:

       [APCM] hereby irrevocably assigns, transfers, conveys, sets over and delivers to
       MSP Recovery, or its assigns, in perpetuity, any and all of [APCM’s] right, title,
       ownership and interest in and to all rights and entitlements, and all information and
       data used to pursue and/or recover monies for [APCM] that [APCM] has, may have
       had, or has asserted against any party including, but not limited to, primary payors
       and/or third parties that may be liable to [APCM] arising from or relating to the
       Assigned Claims.

Comp. Ex. G, at 1.1. Consideration was given between each party in executing these assignments.

A2.    On June 12, 2017, MSP Recovery 15-627, LLC irrevocably assigned all rights acquired

under the APCM Assignment to Series 15-12-404, LLC, a designated series of Plaintiff MSPRC:

       [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
       Assignee and its successors and assigns, any and all of Assignor’s rights, title,
       ownership and interest in and to the [claims] (and all proceeds and products thereof)
       as such terms are defined in the Health Care Claim(s) Cost Recovery Agreement
       dated December 10, 2015, by and among [APCM] and [MSP Recovery 15-627,
       LLC] . . .

Comp. Ex. G. Consideration was given between each party in executing these assignments.

A3.    On December 16, 2015, Arse, Inc. (“ARSE”) irrevocably assigned all its rights and claims

to recover against any liable entity (including defendants) for payments made on behalf of their

enrollees under Medicare Parts A, B, and D to MSP Recovery, LLC (“MSP Recovery”).

Specifically, the ARSE Assignment attached as Composite Exhibit H, states the following:




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       [ARSE] hereby assigns, transfers, conveys, sets over and delivers to MSP
       Recovery, or its assigns, any and all of [ARSE’s] right, title, ownership and interest
       in and to all rights and entitlements, and all information used to pursue and/or
       recover monies for [ARSE] that [ARSE] has, may have had, or has asserted against
       any party (“Assigned Claims”). This includes, but is not limited to, primary payors
       and/or third parties that may be liable to [ARSE] arising from or relating to the
       Assigned Claims.

Comp. Ex. H, at 4.1. Consideration was given between each party in executing these assignments.

A4.    On June 12, 2017, MSP Recovery irrevocably assigned all rights acquired under the ASRI

Assignment to Series 15-12-406, LLC, a designated series of Plaintiff MSPRC:

       [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
       Assignee and its successors and assigns, any and all of Assignor’s rights, title,
       ownership and interest in and to the [claims] (and all proceeds and products thereof)
       as such terms are defined in the Health Care Claim(s) Cost Recovery Agreement
       dated December 16, 2015, by and among [ASRI] and [MSP Recovery, LLC] . . .

Comp. Ex. H.

A5.    On March 1, 2016, Asomante Medical Group, Inc. (“AMGP”) irrevocably assigned all

its rights and claims to recover against any liable entity (including defendants) for payments made

on behalf of their enrollees under Medicare Parts A, B, and D to MSP Recovery. Specifically, the

AMGP Assignment attached as Composite Exhibit I, states the following:

       [AMGP] hereby assigns, transfers, conveys, sets over and delivers to MSP
       Recovery, or its assigns, any and all of [AMGP’s] right, title, ownership and interest
       in and to all rights and entitlements, and all information used to pursue and/or
       recover monies for [AMGP] that [AMGP] has, may have had, or has asserted
       against any party (“Assigned Claims”). This includes, but is not limited to, primary
       payors and/or third parties that may be liable to [AMGP] arising from or relating to
       the Assigned Claims.

Comp. Ex. I, at 4.1. Consideration was given between each party in executing these assignments.

A6.    On June 12, 2017, MSP Recovery irrevocably assigned all rights acquired under the AMGP

Assignment to Series 16-03-444, LLC, a designated series of Plaintiff MSPRC:

       [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
       Assignee and its successors and assigns, any and all of Assignor’s rights, title,



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       ownership and interest in and to the [claims] (and all proceeds and products thereof)
       as such terms are defined in the Recovery Agreement dated March 1, 2016, by and
       among [AMGP] and [MSP Recovery, LLC] . . .

Comp. Ex. I. Consideration was given between each party in executing these assignments.

A7.    On February 18, 2016, Broward Primary Partners, LLC, (“BPPL”) irrevocably assigned

all its rights and claims to recover against any liable entity (including defendants) for payments

made on behalf of their enrollees under Medicare Parts A, B, and D to MSP Recovery. Specifically,

the BPPL Assignment attached as Composite Exhibit J, states the following:

       [BPPL] hereby irrevocably assigns, transfers, conveys, sets over and delivers to
       MSP Recovery, or its assigns, in perpetuity, any and all of [BPPL’s] right, title,
       ownership and interest in and to all rights and entitlements, and all information and
       data used to pursue and/or recover monies for [BPPL] that [BPPL] has, may have
       had, or has asserted against any party including, but not limited to, primary payors
       and/or third parties that may be liable to [BPPL] arising from or relating to the
       Assigned Claims.

Comp. Ex. J, at 1.1. Consideration was given between each party in executing these assignments.

A8.    On June 12, 2017, MSP Recovery irrevocably assigned all rights acquired under the BPPL

Assignment to Series 16-02-437, LLC, a designated series of Plaintiff MSPRC:

       [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
       Assignee and its successors and assigns, any and all of Assignor’s rights, title,
       ownership and interest in and to the [claims] (and all proceeds and products thereof)
       as such terms are defined in the Claim(s) Cost Recovery Agreement and
       Assignment of Claims and Causes of Action dated February 18, 2016, by and
       among [BPPL] and [MSP Recovery, LLC] . . .

Comp. Ex. J. Consideration was given between each party in executing these assignments.

A9.    On February 22, 2016, Centro Medico Salinas, Inc. (“CMDS”) irrevocably assigned all

its rights and claims to recover against any liable entity (including defendants) for payments made

on behalf of their enrollees under Medicare Parts A, B, and D to MSP Recovery. Specifically, the

CMDS Assignment attached as Composite Exhibit K, states the following:




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        [CMDS] hereby assigns, transfers, conveys, sets over and delivers to MSP
        Recovery, or its assigns, any and all of [CMDS’s] right, title, ownership and interest
        in and to all rights and entitlements, and all information used to pursue and/or
        recover monies for [CMDS] that [CMDS] has, may have had, or has asserted
        against any party (“Assigned Claims”). This includes, but is not limited to, primary
        payors and/or third parties that may be liable to [CMDS] arising from or relating to
        the Assigned Claims.

Comp. Ex. K, at 4.1. Consideration was given between each party in executing these assignments.

A10.    On June 12, 2017, MSP Recovery irrevocably assigned all rights acquired under the CMDS

Assignment to Series 16-02-438, LLC, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Recovery Agreement dated February 22, 2016, by
        and among [CMDS] and [MSP Recovery, LLC] . . .

Comp. Ex. K. Consideration was given between each party in executing these assignments.

A11.    On March 20, 2018, Connecticare, Inc. (“Connecticare”) irrevocably assigned all its rights

and claims to recover against any liable entity (including defendants) for payments made on behalf

of its enrollees under Medicare Parts A, B, and D to Series 15-09-157, a designated series of

Plaintiff MSPRC. Specifically, the assignment, attached as Exhibit L, states the following:

        Assignor hereby irrevocably assigns, transfers, conveys, sets over and delivers to
        Assignee, and any of its successors and assigns, any and all of Assignor’s right,
        title, ownership and interest in and to all [claims against third parties], whether
        based in contract, tort, statutory right, and any and all rights (including, but not
        limited to, subrogation) to pursue and/or recover monies that Assignor had, may
        have had, or has asserted against any party in connection with the [claims] and all
        rights and claims against primary payers and/or . . . third parties that may be liable
        to Assignor arising from or relating to the [claims], including claims under
        consumer protection statutes and laws, and all information relating thereto, as may
        be applicable.
Ex. L, at 2. Consideration was given between each party in executing these assignments.

A12.    On December 16, 2015, Corporacion Medica Oriental (“CMOC”) irrevocably assigned

all its rights and claims to recover against any liable entity (including defendants) for payments



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made on behalf of their enrollees under Medicare Parts A, B, and D to MSP Recovery. Specifically,

the CMOC Assignment attached as Composite Exhibit M, states the following:

        [CMOC] hereby assigns, transfers, conveys, sets over and delivers to MSP
        Recovery, or its assigns, any and all of [CMOC’s] right, title, ownership and interest
        in and to all rights and entitlements, and all information used to pursue and/or
        recover monies for [CMOC] that [CMOC] has, may have had, or has asserted
        against any party (“Assigned Claims”). This includes, but is not limited to, primary
        payors and/or third parties that may be liable to [CMOC] arising from or relating
        to the Assigned Claims.

Comp. Ex. M, at 4.1. Consideration was given between each party in executing these assignments.

A13.    On June 12, 2017, MSP Recovery irrevocably assigned all rights acquired under the CMOC

Assignment to Series 15-12-407, LLC, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Recovery Agreement dated December 16, 2015, by
        and among [CMOC] and [MSP Recovery, LLC] . . .

Comp. Ex. M. Consideration was given between each party in executing these assignments.

A14.    On March 31, 2016, Corporacion Puertorriquena De Salud (“CPDS”) irrevocably

assigned all its rights and claims to recover against any liable entity (including defendants) for

payments made on behalf of their enrollees under Medicare Parts A, B, and D to MSP Recovery.

Specifically, the CPDS Assignment attached as Composite Exhibit N, states the following:

        [CPDS] hereby assigns, transfers, conveys, sets over and delivers to MSP
        Recovery, or its assigns, any and all of [CPDS’s] right, title, ownership and interest
        in and to all rights and entitlements, and all information used to pursue and/or
        recover monies for [CPDS] that [CPDS] has, may have had, or has asserted against
        any party (“Assigned Claims”). This includes, but is not limited to, primary payors
        and/or third parties that may be liable to [CPDA] arising from or relating to the
        Assigned Claims.

Comp. Ex. N, at 4.1. Consideration was given between each party in executing these assignments.




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        On June 12, 2017, MSP Recovery irrevocably assigned all rights acquired under the CPDS

Assignment to Series 16-04-448, LLC, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Recovery Agreement dated March 31, 2016, by
        and among [CPDS] and [MSP Recovery, LLC] . . .

Comp. Ex. N. Consideration was given between each party in executing these assignments.

A15.    On June 19, 2017, Fallon Community Health (“FCHP”) irrevocably assigned all its rights

and claims to recover against any liable entity (including defendants) for payments made on behalf

of their enrollees under Medicare Parts A, B, and D to MSP Recovery. Specifically, the FCHP

Assignment attached as Composite Exhibit O, states the following:

        [FCHP] hereby irrevocably assigns, transfers, conveys, sets over and delivers to
        MSP Recovery, and any of its successors and assigns, any and all of [FCHP’s] right,
        title, ownership and interest in and to all Claims existing on the date hereof, whether
        based in contract, tort, statutory right, and any and all rights (including, but not
        limited to, subrogation) to pursue and/or recover monies for [FCHP] that [FCHP]
        had, may have had, or has asserted against any party in connection with Claims and
        all rights and claims against primary payers and/or third parties that may be liable
        to [FCHP] arising from or relating to the Claims, including claims under consumer
        protection statutes and laws, and all information relating thereto, all of which shall
        constitute the “Assigned Claims.”

Comp. Ex. O, at 4.1. Consideration was given between each party in executing these

assignments.

        On June 20, 2017, MSP Recovery irrevocably assigned all rights acquired under the FCHP

Assignment to Series 17-04-631, LLC, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Recovery Agreement dated June 19, 2017, by and
        among [FCHP] and [MSP Recovery, LLC] . . .

Comp. Ex. O. Consideration was given between each party in executing these assignments.



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A16.    On October 6, 2017, Family Physicians Group (“FPGI”) a dba of Family Physicians of

Winter Partk. P.A., irrevocably assigned all its rights and claims to recover against any liable

entity (including defendants) for payments made on behalf of their enrollees under Medicare Parts

A, B, and D to MSP Recovery. Specifically, the FPGI Assignment attached as Composite Exhibit

P, states the following:

        [FPGI] hereby assigns, transfers, conveys, sets over and delivers to MSP Recovery,
        and any of its successors and assigns, any and all of [FPGI’s] right, title, ownership
        and interest in and to those Claims transferred to MSP Recovery for Claims’
        analysis and recovery pursuit on the date of transferring said claims, whether based
        in contract, tort, statutory right, and any and all rights (including, but not limited to,
        subrogation) to pursue and/or recover monies for [FPGI] that [FPGI] had, may have
        had, or has asserted against any party in connection with the Claims and all rights
        and claims against primary payers and/or third parties that may be liable to [FPGI]
        arising from or relating to the Claims, including claims under consumer protection
        statutes and laws, and all information relating thereto, all of which shall constitute
        the “Assigned Claims.”

Comp. Ex. P, at 4.1. Consideration was given between each party in executing these assignments.

        On October 10, 2017, MSP Recovery irrevocably assigned all rights acquired under the

FPGI Assignment to Series 17-05-634, LLC, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Recovery Agreement dated October 6, 2017, by
        and among [FPGI] and [MSP Recovery, LLC] . . .

Comp. Ex. P. Consideration was given between each party in executing these assignments.

A17.    On March 20, 2018, Group Health Incorporated and Health Insurance Plan of Greater

New York (otherwise known as “EmblemHealth” or “Emblem”) irrevocably assigned all its rights

and claims to recover against any liable entity (including defendants) for payments made on behalf

of their enrollees under Medicare Parts A, B, and D to Series 16-08-483, a designated series of




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Plaintiff MSPRC. Specifically, the Emblem Assignments, attached as Composite Exhibit Q, state

the following:

        Assignor hereby irrevocably assigns, transfers, conveys, sets over and delivers to
        Assignee, and any of its successors and assigns, any and all of Assignor’s right,
        title, ownership and interest in and to all [claims against third parties], whether
        based in contract, tort, statutory right, and any and all rights (including, but not
        limited to, subrogation) to pursue and/or recover monies that Assignor had, may
        have had, or has asserted against any party in connection with the [claims] and all
        rights and claims against primary payers and/or . . . third parties that may be liable
        to Assignor arising from or relating to the [claims], including claims under
        consumer protection statutes and laws, and all information relating thereto, as may
        be applicable . . .

Comp. Ex. Q., at 2.4. Consideration was given between each party in executing these assignments.

A18.    On December 10, 2015, Grupo Cuidado Geriatrico Integral (“GCMMI”) irrevocably

assigned all its rights and claims to recovery against any liable entity (including defendants for

payments made on behalf of its Enrollees under Medicare Parts A, B, and D to MSP Recovery 15-

626, LLC. Specifically, the GCMMI Assignment, attached as Composite Exhibit R, states the

following:

        [GCMMI] hereby irrevocably assigns, transfers, conveys, sets over and delivers to
        MSP Recovery, or its assigns, in perpetuity, any and all of [GCMMI’s] right, title,
        ownership and interest in and to all rights and entitlements, and all information and
        data used to pursue and/or recover monies for [GCMMI] that [GCMMI] has, may
        have had, or has asserted against any party including, but not limited to, primary
        payors and/or third parties that may be liable to [GCMMI] arising from or relating
        to the Assigned Claims.

Comp. Ex. R, at 1.1. Consideration was given between each party in executing these assignments.

        On June 12, 2017, MSP Recovery 15-626, LLC, irrevocably assigned all rights acquired

under the GCMMI Assignment to Series 15-12-403, LLC, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Health Care Claim(s) Cost Recovery Agreement




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        dated December 10, 2015, by and among [GCMMI] and [MSP Recovery 15-6236,
        LLC] . . .

Comp. Ex. R. Consideration was given between each party in executing these assignments.

A19.    On August 28, 2015, Health Care Advisor Services, Inc. (“HCAS”) irrevocably assigned

all its rights and claims to recovery against any liable entity (including defendants for payments

made on behalf of its Enrollees under Medicare Parts A, B, and D to MSP Recovery. Specifically,

the HCAS Assignment, attached as Composite Exhibit S, states the following:

        [HCAS] hereby assigns, transfers, conveys, sets over and delivers to MSP
        Recovery, or its assigns, any and all of [HCAS’s] right, title, ownership and interest
        in and to all rights and entitlements, and all information used to pursue and/or
        recover monies for [HCAS] that [HCAS] has, may have had, or has asserted against
        any party (“Assigned Claims”). This includes, but is not limited to, primary payors
        and/or third parties that may be liable to [HCAS] arising from or relating to the
        Assigned Claims.

Comp. Ex. S, at 4.1. Consideration was given between each party in executing these assignments.

A20.    On June 12, 2017, MSP Recovery, irrevocably assigned all rights acquired under the HCAS

Assignment to Series 15-08-27, LLC, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Recovery Agreement dated August 28, 2015, by
        and among [HCAS] and [MSP Recovery, LLC] . . .

Comp. Ex. S. Consideration was given between each party in executing these assignments.

A21.    On April 28, 2016, Health First Health Plans, Inc., through its administrator Health First

Administrative Plans, Inc. (“HFAP”) irrevocably assigned all its rights and claims to recovery

against any liable entity (including defendants for payments made on behalf of its Enrollees under

Medicare Parts A, B, and D to MSP Recovery. Specifically, the HFAP Assignment, attached as

Composite Exhibit T, states the following:




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        Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
        Recovery, and any of its successors and assigns, any and all of Client’s right, title,
        ownership and interest in and to all Claims existing on the date hereof, whether
        based in contract, tort, statutory right, and any and all rights (including, but not
        limited to, subrogation) to pursue and/or recover monies for Client that Client had,
        may have had, or has asserted against any party in connection with the Claims and
        all rights and claims against primary payers and/or third parties that may be liable
        to Client arising from or relating to the Claims, including claims under consumer
        protection statutes and laws, and all information relating thereto, all of which shall
        constitute the “Assigned Claims.”

Comp. Ex. T, at 4.1. Consideration was given between each party in executing these assignments.

        On June 12, 2017, MSP Recovery, irrevocably assigned all rights acquired under the HFAP

Assignment to Series 16-05-456, LLC, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Recovery Agreement dated April 28, 2016, by and
        among [HFAP] and [MSP Recovery, LLC] . . .

Comp. Ex. T. Consideration was given between each party in executing these assignments.

A22.    On September 14, 2015, Hygea Health Holdings, Inc. (“HYG”) irrevocably assigned all

its rights and claims to recovery against any liable entity (including defendants for payments made

on behalf of its Enrollees under Medicare Parts A, B, and D to MSP Recovery. Specifically, the

HYG Assignment, attached as Composite Exhibit U, states the following:

        [HYG] hereby irrevocably assigns, transfers, conveys, sets over and delivers to
        MSP Recovery, or its assigns, in perpetuity, any and all of [HYG’s] right, title,
        ownership and interest in and to all rights and entitlements, and all information and
        data used to pursue and/or recover monies for [HYG] that [HYG] has, may have
        had, or has asserted against any party including, but not limited to, primary payors
        and/or third parties that may be liable to [HYG] arising from or relating to the
        Assigned Claims.

Comp. Ex. U, at 1.1. Consideration was given between each party in executing these assignments.

        On June 12, 2017, MSP Recovery, irrevocably assigned all rights acquired under the HYG

Assignment to Series 15-08-19, LLC, a designated series of Plaintiff MSPRC:



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        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Health Care Claims Cost Recovery Agreement
        dated September 14, 2015, by and among [HYG] and [MSP Recovery, LLC] . . .

Comp. Ex. U. Consideration was given between each party in executing these assignments.

A23.    On August 17, 2017, Medical Consultants Management, LLC (“MCML”) irrevocably

assigned all its rights and claims to recovery against any liable entity (including defendants for

payments made on behalf of its Enrollees under Medicare Parts A, B, and D to MSP Recovery.

Specifically, the MCML Assignment, attached as Composite Exhibit V, states the following:

        Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
        Recovery, and any of its successors and assigns, any and all of Client’s right, title,
        ownership and interest in and to all Claims existing on the date hereof, whether
        based in contract, tort, statutory right, and any and all rights (including, but not
        limited to, subrogation) to pursue and/or recover monies for Client that Client had,
        may have had, or has asserted against any party in connection with the Claims and
        all rights and claims against primary payers and/or third parties that may be liable
        to Client arising from or relating to the Claims, including claims under consumer
        protection statutes and laws, and all information relating thereto, all of which shall
        constitute the “Assigned Claims.”

Comp. Ex. V, at 4.1. Consideration was given between each party in executing these assignments.

        On September 8, 2017, MSP Recovery, irrevocably assigned all rights acquired under the

MCML Assignment to Series 17-08-647, LLC, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Health Care Claims Cost Recovery Agreement
        dated August 17, 2017, by and among [MCML] and [MSP Recovery, LLC] . . .

Comp. Ex. V. Consideration was given between each party in executing these assignments.

A24.    On February 18, 2016, Medical IPA of the Palm Beaches, Inc. (“MIPAPB”) irrevocably

assigned all its rights and claims to recovery against any liable entity (including defendants for




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payments made on behalf of its Enrollees under Medicare Parts A, B, and D to MSP Recovery.

Specifically, the MIPAPB Assignment, attached as Composite Exhibit W, states the following:

        [MIPAPB] hereby irrevocably assigns, transfers, conveys, sets over and delivers to
        MSP Recovery, or its assigns, in perpetuity, any and all of [MIPAPB’s] right, title,
        ownership and interest in and to all rights and entitlements, and all information and
        data used to pursue and/or recover monies for [MIPAPB] that [MIPAPB] has, may
        have had, or has asserted against any party including, but not limited to, primary
        payors and/or third parties that may be liable to [MIPAPB] arising from or relating
        to the Assigned Claims.

Comp. Ex. W, at 1.1. Consideration was given between each party in executing these assignments.

        On June 12, 2017, MSP Recovery, irrevocably assigned all rights acquired under the

MIPAPB Assignment to Series 16-02-436, LLC, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Claim(s) Cost Recovery Agreement and
        Assignment of Claims and Causes of Action dated February 18, 2016, by and
        among [MIPAPB] and [MSP Recovery, LLC] . . .

Comp. Ex. W. Consideration was given between each party in executing these assignments.

A25.    On August 9, 2017, Network Health, Inc. (“NHPN”) irrevocably assigned all its rights

and claims to recovery against any liable entity (including defendants for payments made on behalf

of its Enrollees under Medicare Parts A, B, and D to MSP Recovery. Specifically, the NHPN

Assignment, attached as Composite Exhibit X, states the following:

        Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
        Recovery, and any of its successors and assigns, any and all of Client’s right, title,
        ownership and interest in and to all Claims existing on the date hereof, whether
        based in contract, tort, statutory right, and any and all rights (including, but not
        limited to, subrogation) to pursue and/or recover monies for Client that Client had,
        may have had, or has asserted against any party in connection with the Claims and
        all rights and claims against primary payers and/or third parties that may be liable
        to Client arising from or relating to the Claims, including claims under consumer
        protection statutes and laws, and all information relating thereto, all of which shall
        constitute the “Assigned Claims.”




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Comp. Ex. X, at 4.1. Consideration was given between each party in executing these assignments.

        On August 10, 2017, MSP Recovery, irrevocably assigned all rights acquired under the

NHPN Assignment to Series 15-09-355, LLC, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Recovery Agreement dated August 9, 2017, by and
        among [MIPAPB] and [MSP Recovery, LLC] . . .

Comp. Ex. X. Consideration was given between each party in executing these assignments.

A26.    On December 23, 2015, Palm Beach Primary Care Associations, Inc. (“PBPCA”)

irrevocably assigned all its rights and claims to recovery against any liable entity (including

defendants for payments made on behalf of its Enrollees under Medicare Parts A, B, and D to MSP

Recovery 16-1, LLC. Specifically, the PBPCA Assignment, attached as Composite Exhibit Y,

states the following:

        Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
        Recovery, or its assigns, in perpetuity, any and all of Client’s right, title, ownership
        and interest in and to all rights and entitlements, and all information and data used
        to pursue and/or recover monies for Client that Client has, may have had, or has
        asserted against any party (the “Assigned Claims”). This includes, but is not limited
        to, primary payors and/or third parties that may be liable to Client arising from or
        relating to the Assigned Claims.

Comp. Ex. Y, at 1.1. Consideration was given between each party in executing these assignments.

        On June 12, 2017, MSP Recovery 16-1, LLC, irrevocably assigned all rights acquired

under the PBPCA Assignment to Series 16-01-409, LLC, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Health Care Claim(s) Cost Recovery Agreement
        dated December 23, 2015,, by and among [PBPCA] and [MSP Recovery 16-1,
        LLC] . . .




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Comp. Ex. Y. Consideration was given between each party in executing these assignments.

A27.    On October 29, 2015, Physicians Access Urgent Care Group, LLC (“PPP”) irrevocably

assigned all its rights and claims to recovery against any liable entity (including defendants for

payments made on behalf of its Enrollees under Medicare Parts A, B, and D to MSP Recovery 15-

580, LLC. Specifically, the PPP Assignment, attached as Composite Exhibit Z, states the

following:

        Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
        Recovery, or its assigns, in perpetuity, any and all of Client’s right, title, ownership
        and interest in and to all rights and entitlements, and all information and data used
        to pursue and/or recover monies for Client that Client has, may have had, or has
        asserted against any party (the “Assigned Claims”). This includes, but is not limited
        to, primary payors and/or third parties that may be liable to Client arising from or
        relating to the Assigned Claims.

Comp. Ex. Z, at 1.1. Consideration was given between each party in executing these assignments.

        On June 12, 2017, MSP Recovery 15-580, LLC, irrevocably assigned all rights acquired

under the PPP Assignment to Series 15-10-362, LLC, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Health Care Claim(s) Cost Recovery Agreement
        dated October 29, 2015, by and among [PPP] and [MSP Recovery, 15-580, LLC] .
        ..

Comp. Ex. Z. Consideration was given between each party in executing these assignments.

A28.    On December 3, 2015, Physician H.M.O. Inc. (“PHMO”) irrevocably assigned all its

rights and claims to recovery against any liable entity (including defendants for payments made

on behalf of its Enrollees under Medicare Parts A, B, and D to MSP Recovery. Specifically, the

PHMO Assignment, attached as Composite Exhibit AA, states the following:

        Client hereby assigns, transfers, conveys, sets over and delivers to MSP Recovery,
        or its assigns, any and all of Client’s right, title, ownership and interest in and to all
        rights and entitlements, and all information used to pursue and/or recover monies



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        for Client that Client has, may have had, or has asserted against any party
        (“Assigned Claims”). This includes, but is not limited to, primary payors and/or
        third parties that may be liable to Client arising from or relating to the Assigned
        Claims.

Comp. Ex. AA, at 4.1. Consideration was given between each party in executing these

assignments.

        On June 12, 2017, MSP Recovery irrevocably assigned all rights acquired under the PHMO

Assignment to Series 15-12-396, LLC, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Recovery Agreement dated December 3, 2015, by
        and among [PHMO] and [MSP Recovery, LLC] . . .

Comp. Ex. AA. Consideration was given between each party in executing these assignments.

A29.    On April 16, 2016, Ponce Advance Medical Group, P.S.C., (“PAMG”) irrevocably

assigned all its rights and claims to recovery against any liable entity (including defendants for

payments made on behalf of its Enrollees under Medicare Parts A, B, and D to MSP Recovery.

Specifically, the PAMG Assignment, attached as Composite Exhibit BB, states the following:

        Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
        Recovery, and any of its successors and assigns, any and all of Client’s right, title,
        ownership and interest in and to all Claims existing on the date hereof, whether
        based in contract, tort, statutory right, and any and all rights (including, but not
        limited to, subrogation) to pursue and/or recover monies for Client that Client had,
        may have had, or has asserted against any party in connection with the Claims and
        all rights and claims against primary payers and/or third parties that may be liable
        to Client arising from or relating to the Claims, including claims under consumer
        protection statutes and laws, and all information relating thereto, all of which shall
        constitute the “Assigned Claims.”

Comp. Ex. BB, at 4.1. Consideration was given between each party in executing these assignments.

A30.    On June 12, 2017, MSP Recovery irrevocably assigned all rights acquired under the PAMG

Assignment to Series 16-04-454, LLC, a designated series of Plaintiff MSPRC:




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        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Recovery Agreement dated April 16, 2016, by and
        among [PAMG] and [MSP Recovery, LLC] . . .

Comp. Ex. BB. Consideration was given between each party in executing these assignments.

A31.    On February 18, 2016, Preferred Primary Care, LLC (“PPC”) irrevocably assigned all

its rights and claims to recovery against any liable entity (including defendants for payments made

on behalf of its Enrollees under Medicare Parts A, B, and D to MSP Recovery. Specifically, the

PPC Assignment, attached as Composite Exhibit CC, states the following:

        Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
        Claims, or its assigns, to the extent it is legally permitted any and all of Client’s
        right, title, ownership and interest in and to all rights and entitlements, that Client
        has, may have had, or has asserted against any party including primary payors
        and/or third parties that may be liable to Client arising from or relating to the
        Assigned Claims.

Comp. Ex. CC, at 1.1.        Consideration was given between each party in executing these

assignments.

        On June 12, 2017, MSP Recovery irrevocably assigned all rights acquired under the PPC

Assignment to Series 16-02-435, LLC, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Claim(s) Cost Recovery Agreement and
        Assignment of Claims and Causes of Action dated February 18, 2016, by and
        among [PPC] and [MSP Recovery, LLC] . . .

Comp. Ex. CC. Consideration was given between each party in executing these assignments.

A32.    On July 19, 2017, Premier Care Partners, LLC (“PCPS”) irrevocably assigned all its

rights and claims to recovery against any liable entity (including defendants for payments made




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on behalf of its Enrollees under Medicare Parts A, B, and D to MSP Recovery. Specifically, the

PCPS Assignment, attached as Composite Exhibit DD, states the following:

        Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
        Recovery, and any of its successors and assigns, any and all of Client’s right, title,
        ownership and interest in and to all Claims existing on the date hereof, whether
        based in contract, tort, statutory right, and any and all rights (including, but not
        limited to, subrogation) to pursue and/or recover monies for Client that Client had,
        may have had, or has asserted against any party in connection with the Claims and
        all rights and claims against primary payers and/or third parties that may be liable
        to Client arising from or relating to the Claims, including claims under consumer
        protection statutes and laws, and all information relating thereto, all of which shall
        constitute the “Assigned Claims.”

Comp. Ex. DD, at 4.1. Consideration was given between each party in executing these

assignments.

        On July 20, 2017, MSP Recovery irrevocably assigned all rights acquired under the PCPS

Assignment to Series 17-07-642, LLC, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Recovery Agreement dated July 19, 2017, by and
        among [PCPS] and [MSP Recovery, LLC] . . .

Comp. Ex. DD. Consideration was given between each party in executing these assignments.

A33.    On January 15, 2016, Primary Physicians Medical Service, LLC (“PPMS”) irrevocably

assigned all its rights and claims to recovery against any liable entity (including defendants for

payments made on behalf of its Enrollees under Medicare Parts A, B, and D to MSP Recovery.

Specifically, the PPMS Assignment, attached as Composite Exhibit EE, states the following:

        Client hereby assigns, transfers, conveys, sets over and delivers to MSP, or its
        assigns, any and all of Client’s right, title, ownership and interest in and to all rights
        and entitlements, and all information and data used to pursue and/or recover monies
        for Client that Client has, may have had, or has asserted against any party (the
        “Assigned Claims”). This includes, but is not limited to, primary payors and/or third
        parties that may be liable to Client arising from or relating to the Assigned Claims.




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Comp. Ex. EE, at 8. Consideration was given between each party in executing these assignments.

        On July 20, 2017, MSP Recovery irrevocably assigned all rights acquired under the PPMS

Assignment to Series 16-01-413, LLC, a designated series of Plaintiff MSPRC:

        201. [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and
        delivers to Assignee and its successors and assigns, any and all of Assignor’s rights,
        title, ownership and interest in and to the [claims] (and all proceeds and products
        thereof) as such terms are defined in the Health Care Claim(s) Cost Recovery
        Agreement dated January 15, 2016, by and among [PPMS] and [MSP Recovery,
        LLC] . . .

Comp. Ex. EE. Consideration was given between each party in executing these assignments.

A34.    On February 18, 2016, Risk Watchers, Inc. (“HPRW”) irrevocably assigned all its rights

and claims to recovery against any liable entity (including defendants for payments made on behalf

of its Enrollees under Medicare Parts A, B, and D to MSP Recovery. Specifically, the HPRW

Assignment, attached as Composite Exhibit FF, states the following:

        Client hereby assigns, transfers, conveys, sets over and delivers to MSP Claims, or
        its assigns, to the extent it is legally permitted any and all of Client’s right, title,
        ownership and interest in and to all rights and entitlements, that Client has, may
        have had, or has asserted against any party including primary payors and/or third
        parties that may be liable to Client arising from or relating to the Assigned Claims.

Comp. Ex. FF, at 1.1. Consideration was given between each party in executing these assignments.

        On June 12, 2017, MSP Recovery irrevocably assigned all rights acquired under the HPRW

Assignment to Series 15-09-31, LLC, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Claim(s) Cost Recovery Agreement and
        Assignment of Claims and Causes of Action dated February 18, 2016, by and
        among [HPRW] and [MSP Recovery, LLC] . . .

Comp. Ex. FF. Consideration was given between each party in executing these assignments.




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A35.    On May 12, 2017, Summacare, Inc. (“Summacare”) irrevocably assigned all its rights and

claims to recovery against any liable entity (including defendants) for payments made on behalf

of its enrollees under Medicare Parts A, B, and D to MSP Recovery. Specifically, the Summacare

Assignment, attached as Composite Exhibit GG, states the following:

        [Summacare] hereby irrevocably assigns, transfers, conveys, sets over and delivers
        to MSP Recovery, and any of its successors and assigns, any and all of
        [Summacare’s] right, title, ownership and interest in and to all Claims existing on
        the date hereof, whether based in contract, tort, statutory right, and any and all rights
        (including, but not limited to, subrogation) to pursue and/or recover monies for
        [Summacare] that [Summacare] had, may have had, or has asserted against any
        party in connection with the Claims and all rights and claims against primary payers
        and/or third parties that may be liable to [Summacare] arising from or relating to
        the Claims, including claims under consumer protection statutes and laws, and all
        information relating thereto, all of which shall constitute the “Assigned Claims”.

Comp. Ex. GG, at 1.2. Consideration was given between each party in executing these

assignments.

        On June 12, 2017, MSP Recovery irrevocably assigned all rights acquired under the

Summacare Assignment to Series 16-11-509, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s right, title,
        ownership and interest in and to the [claims](and all proceeds and products thereof)
        as such terms are defined in the Recovery Agreement dated May 12, 2017, by and
        among [Summacare] . . . and [MSP Recovery] . . .

Comp. Ex. GG. Consideration was given between each party in executing these assignments.

        Summacare consented to, acknowledged, approved, and ratified the assignment from MSP

Recovery to Series 16-11-509, which is memorialized in a letter dated September 5, 2018, and

attached as Comp. Ex. GG.

A36.    On September 21, 2015, Suncoast Medical Network 2, Inc. (“SUNCM”), irrevocably

assigned all its rights and claims to recovery against any liable entity (including defendants) for

payments made on behalf of its enrollees under Medicare Parts A, B, and D to MSP Recovery,



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220, LLC. Specifically, the SUNCM Assignment, attached as Composite Exhibit HH, states the

following:

        Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
        Recovery, or its assigns, in perpetuity, any and all of Client’s right, title, ownership
        and interest in and to all rights and entitlements, and all information and data used
        to pursue and/or recover monies for Client that Client has, may have had, or has
        asserted against any party (the “Assigned Claims”). This includes, but is not limited
        to, primary payors and/or third parties that may be liable to Client arising from or
        relating to the Assigned Claims.

Comp. Ex. II, at 1.1. Consideration was given between each party in executing these assignments.

        On June 12, 2017, MSP Recovery 220, LLC, irrevocably assigned all rights acquired under

the SUNCM Assignment to Series 15-08-10, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s right, title,
        ownership and interest in and to the [claims](and all proceeds and products thereof)
        as such terms are defined in the Healthcare Claim(s) Cost Recovery Agreement
        dated September 21, 2015, by and among [SUNCM}. . . and [MSP Recovery 220,
        LLC] . . .

Comp. Ex. II. Consideration was given between each party in executing these assignments.

A37.    On November 9, 2015, Suncoast Provider Network, Inc. (“SCPN”) irrevocably assigned

all its rights and claims to recovery against any liable entity (including defendants) for payments

made on behalf of its enrollees under Medicare Parts A, B, and D to MSP Recovery, 15-608, LLC.

Specifically, the SCPN Assignment, attached as Composite Exhibit II, states the following:

        Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
        Recovery, or its assigns, in perpetuity, any and all of Client’s right, title, ownership
        and interest in and to all rights and entitlements, and all information and data used
        to pursue and/or recover monies for Client that Client has, may have had, or has
        asserted against any party (the “Assigned Claims”). This includes, but is not limited
        to, primary payors and/or third parties that may be liable to Client arising from or
        relating to the Assigned Claims.

Comp. Ex. JJ, at 1.1. Consideration was given between each party in executing these assignments.




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        On June 12, 2017, MSP Recovery 15-608, LLC, irrevocably assigned all rights acquired

under the SCPN Assignment to Series 15-11-387, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s right, title,
        ownership and interest in and to the [claims](and all proceeds and products thereof)
        as such terms are defined in the Healthcare Claim(s) Cost Recovery Agreement
        dated November 9, 2015, by and among [SCPN]. . . and [MSP Recovery 15-608,
        LLC] . . .

Comp. Ex. JJ. Consideration was given between each party in executing these assignments.

A38.    On November 3, 2015, Transatlantic Healthcare, Inc. (“THC”) irrevocably assigned all

its rights and claims to recovery against any liable entity (including defendants) for payments made

on behalf of its enrollees under Medicare Parts A, B, and D to MSP Recovery, 15-131, LLC.

Specifically, the THC Assignment, attached as Composite Exhibit JJ, states the following:

        Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
        Recovery, or its assigns, in perpetuity, any and all of Client’s right, title, ownership
        and interest in and to all rights and entitlements, and all information and data used
        to pursue and/or recover monies for Client that Client has, may have had, or has
        asserted against any party (the “Assigned Claims”). This includes, but is not limited
        to, primary payors and/or third parties that may be liable to Client arising from or
        relating to the Assigned Claims.

Comp. Ex. KK, at 1.1. Consideration was given between each party in executing these

assignments.

        On June 12, 2017, MSP Recovery 15-131, LLC, irrevocably assigned all rights acquired

under the THC Assignment to Series 15-11-385, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s right, title,
        ownership and interest in and to the [claims](and all proceeds and products thereof)
        as such terms are defined in the Healthcare Claim(s) Cost Recovery Agreement
        dated November 3, 2015, by and among [THC]. . . and [MSP Recovery 15-131,
        LLC] . . .

Comp. Ex. KK. Consideration was given between each party in executing these assignments.




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A39.    On November 3, 2015, Trinity Physicians, LLC (“TPS”) irrevocably assigned all its

rights and claims to recovery against any liable entity (including defendants) for payments made

on behalf of its enrollees under Medicare Parts A, B, and D to MSP Recovery, 15-592, LLC.

Specifically, the TPS Assignment, attached as Composite Exhibi tLL, states the following:

        Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
        Recovery, or its assigns, in perpetuity, any and all of Client’s right, title, ownership
        and interest in and to all rights and entitlements, and all information and data used
        to pursue and/or recover monies for Client that Client has, may have had, or has
        asserted against any party (the “Assigned Claims”). This includes, but is not limited
        to, primary payors and/or third parties that may be liable to Client arising from or
        relating to the Assigned Claims.

Comp. Ex. LL, at 1.1.         Consideration was given between each party in executing these

assignments.

        On June 12, 2017, MSP Recovery 15-592, LLC, irrevocably assigned all rights acquired

under the TPS Assignment to Series 15-11-371, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s right, title,
        ownership and interest in and to the [claims](and all proceeds and products thereof)
        as such terms are defined in the Healthcare Claim(s) Cost Recovery Agreement
        dated November 3, 2015, by and among [TPS]. . . and [MSP Recovery 15-592,
        LLC] . . .

Comp. Ex. LL. Consideration was given between each party in executing these assignments.

A40.    On November 23, 2015, University Health Care MSO, Inc. (“UNHC”) irrevocably

assigned all its rights and claims to recovery against any liable entity (including defendants) for

payments made on behalf of its enrollees under Medicare Parts A, B, and D to MSP Recovery.

Specifically, the UNHC Assignment, attached as Composite Exhibit MM, states the following:

        Client hereby assigns, transfers, conveys, sets over and delivers to MSP Recovery,
        or its assigns, any and all of Client’s right, title, ownership and interest in and to all
        rights and entitlements, and all information used to pursue and/or recover monies
        for Client that Client has, may have had, or has asserted against any party
        (“Assigned Claims”). This includes, but is not limited to, primary payors and/or



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        third parties that may be liable to Client arising from or relating to the Assigned
        Claims.

Comp. Ex. MM, at 1.1. Consideration was given between each party in executing these

assignments.

        On June 12, 2017, MSP Recovery, irrevocably assigned all rights acquired under the

UNHC Assignment to Series 15-08-25, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s right, title,
        ownership and interest in and to the [claims](and all proceeds and products thereof)
        as such terms are defined in the Recovery Agreement dated November 23, 2015,
        by and among [UNHC]. . . and [MSP Recovery, LLC] . . .

Comp. Ex. MM. Consideration was given between each party in executing these assignments.

A41.    On April 7, 2016, Verimed IPA, LLC (“VMIL”) irrevocably assigned all its rights and

claims to recovery against any liable entity (including defendants) for payments made on behalf

of its enrollees under Medicare Parts A, B, and D to MSP Recovery. Specifically, the VMIL

Assignment, attached as Composite Exhibit NN, states the following:

        Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
        Recovery, and any of its successors and assigns, any and all of Client’s right, title,
        ownership and interest in and to all Claims existing on the date hereof, whether
        based in contract, tort, statutory right, and any and all rights (including, but not
        limited to, subrogation) to pursue and/or recover monies for Client that Client had,
        may have had, or has asserted against any party in connection with the Claims and
        all rights and claims against primary payers and/or third parties that may be liable
        to Client arising from or relating to the Claims, including claims under consumer
        protection statutes and laws, and all information relating thereto, all of which shall
        constitute the “Assigned Claims”. The transfer, grant, right, or assignment of any
        and all of Client’s right, title, ownership, interest and entitlements in and to the
        Assigned Claims shall remain the confidential and exclusive property of MSP
        Recovery or its assigns. This assignment is irrevocable and absolute. This
        assignment shall survive the termination or expiration of this Agreement,
        notwithstanding anything herein to the contrary.

Comp. Ex. NN, at 4.1. Consideration was given between each party in executing these

assignments.



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        On June 12, 2017, MSP Recovery, irrevocably assigned all rights acquired under the VMIL

Assignment to Series 15-09-108, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s right, title,
        ownership and interest in and to the [claims](and all proceeds and products thereof)
        as such terms are defined in the Recovery Agreement dated April 7, 2016, by and
        among [VMIL]. . . and [MSP Recovery, LLC] . . .

Comp. Ex. NN. Consideration was given between each party in executing these assignments.

A42.    On April 27, 2017, Reliance ACO, LLC, (“RACO”) irrevocably assigned all of its rights

and claims to MSP Recovery Claims Series, LLC to recover against any liable entity (including

defendants) for payments made on behalf of its enrollees under Medicare to MSP Recovery.

Specifically, the Reliance ACO, LLC Assignment, attached as Composite Exhibit TT, states the

following:

        [RACO] hereby irrevocably assigns, transfers, conveys, sets over and delivers to
        MSP Recovery, and any of its successors and assigns, any and all of [RACO’s]
        right, title, ownership and interest in and to any reimbursement or recovery rights
        from responsible primary payers existing on the date hereof, whether based in
        contract, tort, statutory right, and any and all rights (including, but not limited to,
        subrogation) to pursue and/or recover monies for [RACO] that [RACO] had, may
        have had, or has asserted against any party in connection with the Claims and all
        rights and claims against primary payers and/or third parties that may be liable to
        Client arising from or relating to the Claims, including claims under consumer
        protection statutes and law, and all information relating thereto, all of which shall
        constitute “Assigned Claims.”

Comp. Ex. TT. Consideration was given between each party in executing these assignments.

A.43. On June 12, 2017, MSP Recovery Claims Series, LLC irrevocably assigned all rights

acquired under the Reliance ACO, LLC Assignment to Series 17-02-564, LLC, a designated series

of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)




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        as such terms are defined in the Recovery Agreement dated April 27, 2017, by and
        among [RACO] and [MSPRC] . . .


Comp. Ex. TT. Consideration was given between each party in executing these assignments.

A.44    On December 19, 2017, Accountable Care Options, LLC, (“ACOL”) an ACO,

irrevocably assigned all of its rights and claims to MSP Recovery, LLC to recover against any

liable entity (including defendants) for payments made on behalf of its enrollees under Medicare

to MSP Recovery. Specifically, the Accountable Care Options, LLC, Assignment, attached as

Composite Exhibit UU, states the following:

        [ACOL] hereby assigns, transfers, conveys, sets over and delivers to MSP
        Recovery, or its successors and assigns, any and all of [ACOL’s] right, title,
        ownership and interest in and to (i) all Claims existing on the date hereof, whether
        based in contract, tort or statutory right, (ii) any and all legal or equitable rights
        (including, but not limited to, subrogation) to pursue and/or recover monies related
        to the Claims that [ACOL] had, may have had, or has asserted against any party in
        connection with the Claims and (iii) all rights and claims, legal or equitable, against
        primary payer, Responsible Parties and/or third parties that may be liable to client
        arising from or relating to the Claims, including claims under consumer protection
        statutes and laws.

Comp. Ex. UU. Consideration was given between each party in executing these assignments.

A45.    On March 27, 2018, MSP Recovery, LLC irrevocably assigned all rights acquired under

the Accountable Care Options, LLC Assignment to Series 18-01-812, a designated series of

Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Recovery Agreement dated December 19, 2017, by
        and among [ACOL] and [MSPRC] . . .

Comp. Ex. UU. Consideration was given between each party in executing these assignments.

A.44    On February 26, 2016, First Medical Center, Inc., (“FMCI”) irrevocably assigned all of its

rights and claims to MSP Recovery, LLC to recover against any liable entity (including



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defendants) for payments made on behalf of its enrollees under Medicare to MSP Recovery.

Specifically, the FMCI Assignment, attached as Composite Exhibit VV, states the following:

        [FMCI] hereby assigns, transfers, conveys, sets over and delivers to MSP
        Recovery, or its assigns, any and all of [FMCI’s] right, title, ownership and interest
        in and to all rights and entitlements, and all information used to pursue and/or
        recover monies for [FMCI] that [FMCI] has, may have had, or has asserted against
        any party. This includes, but is not limited to, primary payors and/or third parties
        that may be liable to [FMCI] arising from or relating to the Assigned Claims.

Comp. Ex. VV. Consideration was given between each party in executing these assignments.

A45.    On March June 12, 2017, MSP Recovery, LLC irrevocably assigned all rights acquired

under the FMCI Assignment to Series 16-03-442, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Recovery Agreement dated February 26, 2016, by
        and among [FMCI] and [MSPRC] . . .

Comp. Ex. VV. Consideration was given between each party in executing these assignments.

A.46    On February 2, 2016, Grupo Medico del Noreste, (“GMDN”) irrevocably assigned all of

its rights and claims to MSP Recovery, LLC to recover against any liable entity (including

defendants) for payments made on behalf of its enrollees under Medicare to MSP Recovery.

Specifically, the GMDN Assignment, attached as Composite Exhibit WW, states the following:

        [GMDN] hereby assigns, transfers, conveys, sets over and delivers to MSP
        Recovery, or its assigns, any and all of [GMDN’s] right, title, ownership and
        interest in and to all rights and entitlements, and all information used to pursue
        and/or recover monies for [GMDN] that [GMDN] has, may have had, or has
        asserted against any party. This includes, but is not limited to, primary payors
        and/or third parties that may be liable to [GMDN] arising from or relating to the
        Assigned Claims.

Comp. Ex. WW. Consideration was given between each party in executing these assignments.

A47.    On March June 12, 2017, MSP Recovery, LLC irrevocably assigned all rights acquired

under the GMDN Assignment to Series 16-02-429, a designated series of Plaintiff MSPRC:



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        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Recovery Agreement dated February 2, 2016, by
        and among [GMDN] and [MSPRC] . . .

Comp. Ex. WW. Consideration was given between each party in executing these assignments.

A.48    On February 4, 2016, Grupo Medico del Yunque, (“GMDY”) irrevocably assigned all of

its rights and claims to MSP Recovery, LLC to recover against any liable entity (including

defendants) for payments made on behalf of its enrollees under Medicare to MSP Recovery.

Specifically, the GMDN Assignment, attached as Composite Exhibit XX, states the following:

        [GMDY] hereby assigns, transfers, conveys, sets over and delivers to MSP
        Recovery, or its assigns, any and all of [GMDY’s] right, title, ownership and
        interest in and to all rights and entitlements, and all information used to pursue
        and/or recover monies for [GMDY] that [GMDY] has, may have had, or has
        asserted against any party. This includes, but is not limited to, primary payors
        and/or third parties that may be liable to [GMDY] arising from or relating to the
        Assigned Claims.

Comp. Ex. XX. Consideration was given between each party in executing these assignments.

A49.    On March June 12, 2017, MSP Recovery, LLC irrevocably assigned all rights acquired

under the GMDY Assignment to Series 16-02-428, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Recovery Agreement dated February 4, 2016, by
        and among [GMDY] and [MSPRC] . . .

Comp. Ex. XX. Consideration was given between each party in executing these assignments.

A50.    On December 10, 2015, Opcion MCA Inc. (“OMIC”) irrevocably assigned all its rights

and claims to recover against any liable entity (including defendants) for payments made on behalf

of their enrollees under Medicare Parts A, B, and D to MSP Recovery 15-624. Specifically, the

OMIC Assignment attached as Composite Exhibit YY, states the following:




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        Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
        Recovery, or its assigns, in perpetuity, any and all of Client’s right, title, ownership
        and interest in and to all rights and entitlements, and all information and data used
        to pursue and/or recover monies for Client that Client has, may have had, or has
        asserted against any party including, but not limited to, primary payors and/or third
        parties that may be liable to Client arising from or relating to the Assigned Claims.

Comp. Ex. YY, at 1.1.

A51.    On June 12, 2017, MSP Recovery 15-624 irrevocably assigned all rights acquired under

the OMIC Assignment to Series 15-12-401, LLC, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Health Care Claim(s) Cost Recovery Agreement
        dated December 10, 2015, by and among [OMIC] and [MSP Recovery, LLC] . . .

Comp. Ex. YY.

A52.    On February 26, 2016, Quality Care Physicians, LLC (“QCPL”) irrevocably assigned

all its rights and claims to recover against any liable entity (including defendants) for payments

made on behalf of their enrollees under Medicare Parts A, B, and D to MSP Recovery. Specifically,

the QCPL Assignment attached as Composite Exhibit ZZ, states the following:

        Client hereby assigns, transfers, conveys, sets over and delivers to MSP Recovery,
        or its assigns, any and all of Client’s right, title, ownership and interest in and to all
        rights and entitlements, and all information used to pursue and/or recover monies
        for Client that Client has, may have had, or has asserted against any party
        (“Assigned Claims”). This includes, but is not limited to, primary payors and/or
        third parties that may be liable to Client arising from or relating to the Assigned
        Claims.

Comp. Ex. ZZ, at 4.1.

A53.    On June 12, 2017, MSP Recovery irrevocably assigned all rights acquired under the QCPL

Assignment to Series 16-03-440, LLC, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)



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        as such terms are defined in the Recovery Agreement dated February 26, 2016, by
        and among [QCPL] and [MSP Recovery, LLC] . . .

Comp. Ex. ZZ.

A54.    On January 18, 2015, Southern Health Care Group, Inc. (“SHGI”) irrevocably assigned

all its rights and claims to recover against any liable entity (including defendants) for payments

made on behalf of their enrollees under Medicare Parts A, B, and D to MSP Recovery. Specifically,

the QCPL Assignment attached as Composite Exhibit AAA, states the following:

        Client hereby assigns, transfers, conveys, sets over and delivers to MSP Recovery,
        or its assigns, any and all of Client’s right, title, ownership and interest in and to all
        rights and entitlements, and all information used to pursue and/or recover monies
        for Client that Client has, may have had, or has asserted against any party
        (“Assigned Claims”). This includes, but is not limited to, primary payors and/or
        third parties that may be liable to Client arising from or relating to the Assigned
        Claims.

Comp. Ex. AAA, at 4.1.

A55.    On June 12, 2017, MSP Recovery irrevocably assigned all rights acquired under the SHGI

Assignment to Series 16-01-420, LLC, a designated series of Plaintiff MSPRC:

        [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
        Assignee and its successors and assigns, any and all of Assignor’s rights, title,
        ownership and interest in and to the [claims] (and all proceeds and products thereof)
        as such terms are defined in the Recovery Agreement dated January 18, 2016, by
        and among [SHGI] and [MSP Recovery, LLC] . . .

Comp. Ex. AAA.

A56.    On April 16, 2018, ACO Health Partners, LLC (“AHPL”) irrevocably assigned all of its

rights and claims to recover against any liable entity (including defendants) for payments made on

behalf of their enrollees under Medicare Parts A, and B to MSP Recovery, LLC. Specifically, the

AHPL Assignment attached as Composite Exhibit CCC, states the following:




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        “Client irrevocably assigns, transfers, conveys, sets over and delivers to MSP
        Recovery, and any of its successors and assigns, any and all of Client’s right, title,
        ownership and interest in and to (i) all Claims existing on the date hereof, whether
        based in contract, tort or statutory right, (ii) any and all legal or equitable rights
        (including, but not limited to, subrogation) to pursue and/or recover monies related
        to the Claims that Client had, may have had, or has asserted against any party in
        connection with the Claims and (iii) all rights and claims, legal or equitable, against
        primary payers, Responsible Parties and/or third parties that may be liable to Client
        arising from or relating to the Claims, including claims under consumer protection
        statutes and laws (all of the items set forth in (i)-(iii), the “Assigned Claims”).”

Comp. Ex. CCC. Consideration was given between each party in executing these assignments.

A57.    On April 20, 2018, MSP Recovery, LLC irrevocably assigned all rights acquired under the

AHPL Agreement to Series 17-12-674, a designated series of Plaintiff MSPRC.




Comp. Ex. CCC. Consideration was given between each party in executing these assignments.

A58.    On February 26, 2016, Asociacion Medicos Selectos De La Montana Inc. (“AMSM”)

irrevocably assigned all of its rights and claims to recover against any liable entity (including

defendants) for payments made on behalf of their enrollees under Medicare Parts A, B, and D to

MSP Recovery, LLC. Specifically, the AMSM Assignment attached as Composite Exhibit DDD,

states the following:



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        Client hereby assigns, transfers, conveys, sets over and delivers to MSP Recovery,
        or its assigns, any and all of Client’s right, title, ownership and interest in and to all
        rights and entitlements, and all information used to pursue and/or recover monies
        for Client that Client has, may have had, or has asserted against any party
        (“Assigned Claims”). This includes but is not limited to, primary payors and/or
        third parties that may be liable to Client arising from or relating to the Assigned
        Claims.

Comp. Ex. DDD. Consideration was given between each party in executing these assignments.

A59.    On June 12, 2017, MSP Recovery, LLC, irrevocably assigned all rights acquired under the

AMSM Agreement to Series 16-03-441, LLC a designated series of Plaintiff MSPRC.




Comp. Ex. DDD. Consideration was given between each party in executing these assignments.

A60.    On February 4, 2016, Canovanas Medical Group (“CMG”) irrevocably assigned all of its

rights and claims to recover against any liable entity (including defendants) for payments made on

behalf of their enrollees under Medicare Parts A, B, and D to MSP Recovery, LLC. Specifically,

the CMG Assignment attached as Composite Exhibit EEE, states the following:




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        Client hereby assigns, transfers, conveys, sets over and delivers to MSP Recovery,
        or its assigns, any and all of Client’s right, title, ownership and interest in and to all
        rights and entitlements, and all information used to pursue and/or recover monies
        for Client that Client has, may have had, or has asserted against any party
        (“Assigned Claims”). This includes but is not limited to, primary payors and/or
        third parties that may be liable to Client arising from or relating to the Assigned
        Claims.

Comp. Ex. EEE. Consideration was given between each party in executing these assignments.

A61.    On June 12, 2017, MSP Recovery, LLC, irrevocably assigned all rights acquired under the

AMSM Agreement to Series 16-02-427, LLC a designated series of Plaintiff MSPRC.




Comp. Ex. EEE. Consideration was given between each party in executing these assignments.

A62.    On December 10, 2015, Millennium Medical Health Group, Inc. (“MMED”)

irrevocably assigned all its rights and claims to recovery against any liable entity (including

defendants for payments made on behalf of its Enrollees under Medicare Parts A, B, and D to MSP

Recovery 15-621, LLC. Specifically, the MMED Assignment, attached as Composite Exhibit FFF,

states the following:

        Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
        Recovery, or its assigns, in perpetuity, any and all Client’s right, title, ownership



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       and interest to and to all rights and entitlements, and all information and data used
       to purse and/or recover monies for Client that Client has, may have had, or has
       asserted against any party, including, but not limited to, primary payors and/or third
       parties that may be liable to Client arising from or relating to the Assigned Claims.

Comp. Ex. FFF, at 1.1. Consideration was given between each party in executing these

assignments.

A63.   On June 12, 2017, MSP Recovery 15-621, LLC, irrevocably assigned all rights acquired

under the MMED and Assignment to Series 15-12-398, LLC, a designated series of Plaintiff

MSPRC:

       [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
       Assignee and its successors and assigns, any and all of Assignor’s rights, title,
       ownership and interest in and to the [claims] (and all proceeds and products thereof)
       as such terms are defined in the Health Care Claim(s) Cost Recovery Agreement
       dated December 10, 2015, by and among [Millennium Medical] and [MSP
       Recovery 15-621, LLCLC] . . .

Comp. Ex. FFF. Consideration was given between each party in executing these assignments.

A64. On October 8, 2015, Healthcare Alliance Inc. (“HAI”) irrevocably assigned all its rights

and claims to recovery against any liable entity (including defendants for payments made on behalf

of its Enrollees under Medicare Parts A, B, and D to MSP Recovery 15-475, LLC. Specifically,

the Healthcare Alliance Inc. Assignment, attached as Composite Exhibit GGG, states the

following:

       Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
       Recovery, or its assigns, in perpetuity, any and all Client’s right, title, ownership
       and interest to and to all rights and entitlements, and all information and data used
       to purse and/or recover monies for Client that Client has, may have had, or has
       asserted against any party, including, but not limited to, primary payors and/or third
       parties that may be liable to Client arising from or relating to the Assigned Claims.

Comp. Ex. GGG.




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A65.   On June 12, 2017, MSP Recovery 15-475, LLC, irrevocably assigned all rights acquired

under the Millennium Medical and MSP Recovery 15-475, LLC Assignment to Series 15-09-273,

LLC, a designated series of Plaintiff MSPRC:

       [Assignor] irrevocably assigns, sells, transfers, conveys, sets over and delivers to
       Assignee and its successors and assigns, any and all of Assignor’s rights, title,
       ownership and interest in and to the [claims] (and all proceeds and products thereof)
       as such terms are defined in the Health Care Claim(s) Cost Recovery Agreement
       dated October 8, 2015, by and among [Millennium Medical] and [MSP Recovery
       15-475, LLCLC] . . .

Comp. Ex. GGG. Consideration was given between each party in executing these
assignments.

Plaintiff MSPA’s Standing

A66.   On April 15, 2014, Florida Health Care Plus, Inc., (“FHCP”) irrevocably assigned all of

its rights and claims to recover against any liable entity (including defendants) for payments made

on behalf of their enrollees under Medicare Parts A, B, and D to La Ley Recovery Systems, Inc.

(“La Ley Recovery”). Specifically, the FHCP Assignment, attached as Composite Exhibit OO,

states the following:

       [b]y way of this agreement, [FHCP] appoints, directs, and otherwise assigns all of
       [FHCP’s] rights as it pertains to the rights pursuant to any plan, State or Federal
       statute whatsoever directly and/or indirectly for any its members and/or plan
       participants.

Comp. Ex. OO, at 1.1. Consideration was given between each party in executing these

assignments.

       On February 20, 2015, La Ley Recovery irrevocably assigned all rights acquired under the

FHCP Assignment to MSPA:

       [La Ley Recovery] hereby irrevocably assigns, transfers, conveys, sets over, and
       delivers to [MSPA] or its assigns any and all of [La Ley Recovery]’s rights, title,
       ownership and interest in and to all rights and entitlements, that [La Ley Recovery]
       has, may have had, or has asserted against third parties arising from or relating to
       the Claims.


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Comp. Ex. OO. Consideration was given between each party in executing these assignments.

       On June 1, 2016, La Ley Recovery, MSP Recovery, LLC, MSPA, and the Florida

Department of Financial Services as the Receiver of FHCP entered into a Settlement Agreement.

That Settlement Agreement confirmed the transfer of recovery rights from FHCP to MSPA. Leon

County Court of Florida approved this Settlement Agreement on June 14, 2016. Comp. Ex. HH.

Consideration was given between each party in executing these assignments.

A67.   On December 16, 2014, Interamerican Medical Center Group, LLC (“IMC”)

irrevocably assigned all of its rights and claims to recover against any liable entity (including

defendants) for payments made on behalf of their enrollees under Medicare Parts A, B, and D to

MSP Recovery, LLC (“MSP Recovery”). Specifically, the IMC Assignment, attached as

Composite Exhibit QQ, states the following:

       By way of this Agreement, [IMC] appoints, directs, or otherwise, irrevocably
       assigns all of [IMC’s] rights as it pertains to the rights pursuant to any plan, State
       or Federal statute(s) whatsoever directly and/or indirectly for any of its members
       and/or plan participants, and/or its rights . . .

Comp. Ex. QQ. Consideration was given between each party in executing these
assignments.

       On February 20, 2015, MSP Recovery irrevocably assigned all rights acquired under the

IMC Agreement to MSPA:

       Assignor hereby irrevocably assigns, transfers, conveys, sets over, and delivers to
       Assignee or its assigns any and all of Assignor’s right, title, ownership and interest
       in and to all rights and entitlements, that Assignor has, may have had, or has
       asserted against third parties from or relating to the Claims.

Comp. Ex. QQ.




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       IMC consented to, acknowledged, approved, and ratified the assignment from MSP

Recovery to MSPA. Comp. Ex. II. Consideration was given between each party in executing these

assignments.

A68.   On June 2, 2015, Texas Physicians ACO (“TPA”) irrevocably assigned all its rights and

claims to recover against any liable entity (including defendants) for payments made on behalf of

their enrollees under Medicare to MSPA Claims, X, LLC. Specifically, the APCM Assignment,

attached as Composite Exhibit BBB, states the following:

       Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
       Claims, or its assigns, any and all of Client’s right, title, ownership and interest in
       and to all rights and entitlements, that Client has, may have had, or has asserted
       against any party including primary payors and/or third parties that may be liable
       to Client arising from or relating to the Claims related to services and/or supplies

Comp. Ex. BBB, at 1.1.

Plaintiff MAO-MSO’s Standing

A69.   On May 3, 2016, Preferred Medical Plan, Inc. (“PMPI”) irrevocably assigned all of its

rights and claims to recover against any liable entity (including defendants) for payments made on

behalf of their enrollees under Medicare Parts A, B, and D to La Ley Recovery. Specifically, the

PMPI Assignment, attached as Composite Exhibit SS, states the following:

       Client hereby irrevocably assigns, transfers, conveys, sets over and delivers to MSP
       Recovery, and any of its successors and assigns, any and all of Client’s right, title,
       ownership and interest in and to all Claims existing on the date hereof, whether
       based in contract, tort, statutory, right, and any and all rights (including, but not
       limited to, subrogation) to pursue and/or recover monies for Client that Client had,
       may have had, or has asserted against any party in connection with the Claims and
       all rights and claims against primary payers and/or third parties that may be liable
       to Client arising from or relating to the Claims, including claims under consumer
       protection statutes and laws, and all information relating thereto, all of which shall
       constitute the “Assigned Claims,” as also specified in Section 1.1.

Comp. Ex. SS, at 3.1. Consideration was given between each party in executing these assignments.




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       On August 8, 2016, MAO-MSO irrevocably assigned all rights acquired under the

PMPI Agreement to MSP Recovery:

       Assignor hereby irrevocably assigns, sells, transfers, conveys, sets over and
       delivers to Assignee and its successors and assigns, all of Assignor’s right, title,
       ownership and interest in and to all Assigned Claims, plus all proceeds, products
       and distributions of any kind, and proceeds of proceeds, in respect thereof, whether
       based in contract, tort, statutory right, and any and all rights (including, but not
       limited to, subrogation) to pursue and/or recover monies that Assignor had, may
       have had, or has asserted against any party in connection with the Assigned Claims,
       and all rights and claims against primary payers and/or third parties that may be
       liable to Assignor arising from or relating to the Assigned Claims, including claims
       under consumer protection statutes and laws, and all information relating thereto,
       all of which shall constitute the “Assigned Claims.”

Comp. Ex. SS, at 1.1. Consideration was given between each party in executing these assignments.




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